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            United States Court of Appeals
                                       for the
                             Second Circuit
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                ALLSTATE INSURANCE COMPANY, ALLSTATE PROPERTY
                 & CASUALTY INSURANCE COMPANY, ALLSTATE FIRE
              & CASUALTY INSURANCE COMPANY, ALLSTATE INDEMNITY
              COMPANY, ALLSTATE NORTHBROOK INDEMNITY COMPANY,
                                                                   Plaintiffs-Appellants,
                                          – v. –

                 HARVEY FAMILY CHIROPRACTIC, PHYSICAL THERAPY
                   & ACUPUNCTURE, PLLC, RICHARD HARVEY, D.C.,
                  JIN HWANGBO, L. AC, BERVIN NELSON BRUAL, P.T.,
                              ___________________________         Defendants-Appellees.

                ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NEW YORK

                       BRIEF AND SPECIAL APPENDIX
                       FOR PLAINTIFFS-APPELLANTS



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                     CORPORATE DISCLOSURE STATEMENT

          Plaintiff-Appellants Allstate Insurance Company, Allstate Property &

    Casualty Insurance Company, Allstate Fire & Casualty Insurance Company,

    Allstate Indemnity Company, and Allstate Northbrook Indemnity Company

    (collectively, “Plaintiff-Appellants” or “Allstate”) certify that each is a wholly-

    owned subsidiary of The Allstate Corporation, a Delaware corporation. The stock

    of The Allstate Corporation is publicly traded. No publicly held entity owns 10%

    or more of the stock of The Allstate Corporation. The Allstate Corporation does

    not own 10% or more of any publicly traded entity.
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                        JURISDICTIONAL STATEMENT

        The district court has jurisdiction over this matter pursuant to 28 U.S.C.

 § 1331, based upon Plaintiff-Appellants’ allegations of violations of the Racketeer

 Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. §§ 1961 et seq.

 The district court has supplemental jurisdiction over the claims arising under state

 law pursuant to 28 U.S.C. § 1367(a) and principles of pendent jurisdiction. This

 Court has appellate jurisdiction pursuant to 28 U.S.C. § 1292(a)(1) based upon the

 district court’s denial of Plaintiff-Appellants’ Motion for a Preliminary Injunction.




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                            STATEMENT OF ISSUES

        1.    Whether the District Court erred by not finding that Section 1964(a)

 of the RICO Act, which authorizes the district courts of the United States “to

 prevent and restrain violations of Section 1962,” is an “expressly authorized by Act

 of Congress” exception to 28 U.S.C § 2283 (the “Anti-Injunction Act”).

        2.    Whether the District Court was authorized to issue the preliminary

 injunction requested by Plaintiff-Appellants, which sought a stay of state court

 cases being used in furtherance of continuing RICO violations, and erred by not

 doing so.




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                             STATEMENT OF CASE

        On December 16, 2015, Allstate filed the Complaint in the instant matter,

 alleging that Defendant-Appellee Richard Harvey, D.C. (the “Controller” or

 “Harvey”) presided over an enterprise that systematically stole hundreds of

 thousands of dollars from automobile insurance companies, including Plaintiff-

 Appellants, through New York State’s No-fault system via the submission of

 fraudulent claims for chiropractic, acupuncture, and physical therapy services

 submitted by Harvey Family Chiropractic, Physical Therapy and Acupuncture

 (“Harvey FCPTA”), an entity formed and operated in violation of Article 12 of the

 New York State Limited Liability Company Law, Articles 136 and 160 of the

 Education Law, and the implementing regulations promulgated by the New York

 State Department of Financial Services concerning the eligibility of health care

 providers seeking reimbursement under the No-fault law.

        In furtherance of the scheme to defraud, it is alleged that Defendant-

 Appellee Harvey solicited and secured Defendant-Appellees Jin Hwangbo L.Ac.

 (“Hwangbo”) and Bervin Nelson Brual P.T. (“Brual”) (collectively, the “Paper

 Owners” or “Sham Member Providers”) to serve as nominal owners of Harvey

 FCPTA, without actually providing them with any attributes of true ownership.

 The Complaint alleges that the Defendant-Appellees engaged in substantive

 violations of 18 U.S.C. § 1961 (the RICO Act), by, among other things, submitting



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 thousands of fraudulent claim forms seeking payment for chiropractic, acupuncture

 and/or physical therapy services. By its Complaint, Allstate seeks compensatory

 damages arising from the Defendant-Appellees’ substantive RICO violations, as

 well as a declaratory judgment that Allstate is not required to pay any No-fault

 claims from Harvey FCPTA that seek reimbursement for any medical services, due

 to Harvey FCPTA’s fraudulent organization. As alleged in the Complaint, such

 claims continue to be submitted by and/or in the name of Harvey FCPTA, and are,

 or can be, the subject of No-fault collection actions and/or arbitrations to recover

 benefits. There are currently hundreds of claims pending New York City Civil

 Court and Nassau County District Court actions (the “State Court Actions”)

 seeking reimbursement of No-fault benefits to which Harvey FCPTA is not

 entitled.

        After service of the Complaint, on or about January 24, 2016, Allstate sought

 a preliminary injunction enjoining Harvey FCPTA from: (i) proceeding with the

 State Court Actions until the resolution of the instant matter; and (ii) filing new

 arbitration proceedings or civil actions seeking collection of No-fault benefits from

 Allstate until the resolution of the instant matter. As relevant to this appeal,

 Plaintiff-Appellants maintained that the Anti-Injunction Act (the “AIA”), 22 U.S.C.

 § 2283, does not prohibit the district court from enjoining the State Court Actions,

 as the AIA provides an exception for such injunctions when “expressly authorized



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 by [an] Act of Congress.” 28 U.S.C. § 2283. In particular, Plaintiff-Appellants

 argued that since Section 1964(a) of the RICO Act expressly provides that “district

 courts of the United States shall have jurisdiction to prevent and restrain violations

 of [the RICO Act] by issuing appropriate orders, including, but not limited

 to . . . imposing reasonable restrictions on the future activities . . . of any person,”

 18 U.S.C. § 1964(a) (emphasis added), an order staying the State Court Actions

 would directly serve and promote Section 1964(a)’s goal of restraining violations

 of the RICO Act, as each of the State Court Actions seeks reimbursement for No-

 fault claims that are part of a pattern of racketeering activity in violation of the

 RICO Act.

        Defendant-Appellees filed an Affirmation in Opposition on February 5,

 2016, in which they did not oppose Plaintiff-Appellants’ AIA arguments. See

 Appendix (“A”)-265–82. Plaintiff-Appellants filed a Reply on February 19, 2016.

 Oral argument on Allstate’s application was heard on March 10, 2016. Ruling from

 the bench, the Honorable Sterling Johnson denied Plaintiff-Appellants’ application,

 stating that in another matter before him in which there was pending litigation in

 state court, he granted a preliminary injunction of the state court matters and was

 reversed by the Second Circuit. In addition, Judge Johnson had the record reflect

 that he had issued preliminary injunctions in the past, but in the context of

 arbitrations and not civil litigations. A-776.



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        Importantly, the district court did not take any issue with Plaintiff-

 Appellants’ satisfaction of the substantive elements necessary for the issuance of

 the injunction sought; rather, the court’s concern was its authority to issue such an

 injunction, presumably based on the Anti-Injunction Act (“AIA”), as the AIA was

 the only statute brought before the court, pursuant to which Plaintiff-Appellants

 argued the Court had authority to issue the injunction sought. At the time of the

 March 10 hearing, the court could not recall the name of the case upon which it

 relied in denying Plaintiff-Appellants’ Motion.

        On March 11, 2016, Plaintiff-Appellants filed a letter with the District Court

 indicating that after an exhaustive search of Second Circuit reported decisions for

 the case upon which the court relied, Plaintiff-Appellants were unable to find the

 decision, and thus, respectfully requested that the court provide the case cite, or to

 the extent unpublished, any identifying information that would allow Plaintiff-

 Appellants to obtain a copy of that decision. A-779. Plaintiff-Appellants did not

 receive a response from the District Court.

        On March 21, 2016, Plaintiff-Appellants moved the District Court for

 reconsideration of the March 10, 2016 Order, advising the court that there is was

 interpretation of existing Second Circuit precedent standing for the proposition that

 the RICO Act is not an exception to the Anti-Injunction Act, and that the Court

 overlooked binding precedent in the Second Circuit that the RICO Act grants



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 courts “broad discretion and latitude in enjoining violators from activities that

 might lead to future violations,” including by issuing injunctions. U.S. v. Private

 Sanitation Indus. Ass’n of Nassau/Suffolk, Inc., 995 F.2d 375, 377 (2d Cir. 1993)

 (affirming district court’s issuance of an injunction because Section 1964(a)

 authorizes courts “to prevent and restrain violations of [RICO] by issuing

 appropriate orders, including, but not limited to: ordering any person to divest

 himself of any interest, direct or indirect, in the enterprise [or] imposing reasonable

 restrictions on the future activities or investments of any person . . . .” (alteration in

 original) (quoting 18 U.S.C. § 1964(a))); see also U.S. v. Carson, 52 F.3d 1173,

 1184 (2d Cir. 1995) (same).

        On March 23, 2016, the District Court denied Plaintiff-Appellants’ Motion

 for Reconsideration on the basis that they had not established that the court

 overlooked any controlling law or data, or committed clear error, as is required by

 Local Rule 6.3. A-790. The instant appeal followed.

                       STATEMENT OF RELEVANT FACTS

 1.     The No-fault Law

        In 1973, the New York State Legislature enacted the No-fault Law, with the

 goals of ensuring prompt compensation for losses incurred by accident victims

 without regard to fault or negligence, reducing the burden on the courts, and

 providing substantial premium savings to New York motorists. Med. Soc’y of State



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 of N.Y. v. Serio, 100 N.Y.2d 854, 860 (2003). In furtherance thereof, pursuant

 to N.Y. Ins. Law § 5103(d), the Legislature empowered the Superintendent of the

 New York State Department of Insurance (now known as the New York State

 Department of Financial Services (the “DFS”)) to promulgate regulations

 implementing the No-fault Law, codified at 11 N.Y.C.R.R. §§ 65 et seq. Those

 regulations, among other things: (i) mandate that No-fault insurers reimburse

 eligible injured persons up to $50,000 for basic economic loss (including

 reasonable and necessary medical expenses), see Ins. Law § 5102, relating to

 personal injury suffered as the result of the use or operation of a covered

 motor vehicle; (ii) state that a health care provider that fails to meet any applicable

 New York State or local licensing requirement is ineligible to receive

 reimbursement pursuant to the No-fault Law; and (iii) allow a claimant the right to

 assign a claim for No-fault benefits to a healthcare provider, which may submit

 requests for payment directly to insurers pursuant to 11 N.Y.C.R.R. § 65–3.11(a).

 When an insurer denies and/or withholds payment for billed-for services, a

 provider may initiate an action against the insurers for breach of contract, either in

 court or arbitration.

        In the seminal case of State Farm Mutual Automobile Insurance Co. v.

 Mallela, 4 N.Y.3d 313 (2005), the New York State Court of Appeals addressed the

 certified question from this Court of whether a medical corporation that was



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 fraudulently incorporated under N.Y. Business Corporation Law §§ 1507, 1508,

 and N.Y. Education Law § 6507(4)(c)1 was entitled to be reimbursed by insurers

 pursuant to the No-fault Law, and its implementing regulations, for medical

 services rendered by licensed medical practitioners. Mallela, 4 N.Y.3d at 320. The

 court analyzed Section 65-3.16(a)(12) and unanimously answered the question in

 the negative. Id. In addition, the Mallela court recognized that insurers could

 maintain a cause of action for fraud or unjust enrichment against fraudulently

 incorporated providers to recoup payments made after April 4, 2002, the effective

 date of the amendment to the implementing regulations that required medical

 providers to be licensed in accordance with applicable state and local law to be

 eligible for reimbursement of No-fault benefits. Id. at 322; see also State Farm

 Mut. Auto. Ins. Co. v. Rabiner, 749 F. Supp. 2d 94, 99 (E.D.N.Y. 2010)

 (recognizing Mallela’s holding that insurers could maintain actions for fraud or

 unjust enrichment to recoup payments made to fraudulently incorporated medical

 providers).

         Although Mallela concerned fraudulently incorporated medical corporations,

 the regulation relied upon by the Court of Appeals in that case applies equally to

 any “provider of health care services,” including PLLCs such as Harvey FCPTA.

 1
   N.Y. Business Corporation Law §§ 1507, 1508 and N.Y. Education Law § 6507(4)(c) provide, in
 essence, that a certificate of authority to operate as a professional corporation may only be issued to a
 corporation whose owners are licensed in the profession which the corporation is authorized to practice.



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 See Multiquest P.L.L.C. v. Allstate Ins. Co., 844 N.Y.S.2d 565, 567 (App. Term

 2007) (holding that the “requirements of membership, professional licensing, and

 filing are substantially the same” for professional service corporations and PLLCs,

 and concluding that “11 N.Y.C.R.R. [§] 65-3.16 (a)(12) clearly applies” to PLLCs);

 see also Allstate Ins. Co. v. Elzanaty, 916 F. Supp. 2d 273, 295–96 (E.D.N.Y.

 2013) (holding that Mallela made no distinction between health care providers

 incorporated as business entities pursuant to the business corporation law and

 health care providers licensed as Article 28 facilities under the public health law.)

 2.     The Complaint

        Plaintiff-Appellants underwrite automobile insurance in New York State and

 participate as insurers in New York State’s No-fault program. A-20.            Harvey

 FCPTA is ostensibly a healthcare provider that bills for chiropractic, acupuncture

 and physical therapy services to, among others, individuals covered under the No-

 fault Law. Id. In exchange for its services, Harvey FCPTA accepted assignments of

 benefits from its patients covered under the No-fault law (“Claimants”) and

 submitted claims for payment to No-fault insurance carriers, in general, and to

 Plaintiff-Appellants, in particular. Id. In purported compliance with the No-fault

 Law and 11 N.Y.C.R.R. §§ 65 et seq., Harvey FCPTA submitted proof of its claims

 to Plaintiff-Appellants. To process and verify claims submitted by Harvey FCPTA,

 Plaintiff-Appellants required, and Harvey FCPTA submitted, to the extent



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 applicable, narrative reports and other records relative to the alleged medical

 treatment rendered to Claimants, for which Harvey FCPTA was seeking payment.

 A-23. Pursuant to the No-fault law and its implementing regulations, as well as the

 applicable policies of insurance, Plaintiff-Appellants are generally required to

 process a PLLC’s claims within 30 days of receipt of proof of claim. Id. To fulfill

 its obligation to promptly process claims, Allstate justifiably relied upon the bills

 and documentation submitted by Harvey FCPTA in support of its claims, and paid

 Harvey FCPTA based on the representations and information that Harvey FCPTA

 mailed to Allstate. Id. To the extent Plaintiff-Appellants denied Harvey FCPTA’s

 proof of claims, Harvey FCPTA, in many instances, initiated actions in the Civil

 Courts of New York City and the District Court of Nassau County challenging the

 denials and seeking reimbursement of the claims.

        Against the foregoing backdrop, Plaintiff-Appellants commenced this action

 alleging, among other things, violations of RICO, 18 U.S.C. §§ 1961 et seq., and

 New York State common law. The Complaint alleges that Defendant-Appellee

 Harvey presided over an enterprise that systematically stole hundreds of thousands

 of dollars from automobile insurance companies, including Plaintiff-Appellants,

 through New York State’s No-fault system via the submission of fraudulent claims

 for chiropractic, acupuncture, and physical therapy services purportedly rendered

 by Harvey FCPTA, an entity formed and operated in violation of Article 12 of the



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 New York State Limited Liability Company Law, Articles 136 and 160 of the

 Education Law, and the implementing regulations promulgated by the DFS

 concerning the eligibility of health care providers seeking reimbursement under the

 No-fault law. A-8.

        A. Harvey FCPTA’s Fraudulent Organization

        Defendant-Appellee Harvey is a licensed chiropractor, but is not licensed to

 practice acupuncture or physical therapy in the State of New York. A-24. Prior to

 the formation of Harvey FCPTA, Defendant-Appellee Harvey was a sole proprietor

 providing chiropractic, acupuncture, and physical therapy services that sought

 reimbursement for services through, among others, the No-fault system under the

 assumed name of “Harvey Family Chiropractic,” which maintained its offices at

 944 North Broadway, Yonkers, New York 10701. A-29. The Complaint alleges

 that, in or about March 2011, recognizing that as a licensed chiropractor, not

 licensed or otherwise certified in acupuncture and/or physical therapy, he was

 ineligible to seek reimbursement for such services, Defendant-Appellee Harvey

 recruited a licensed acupuncturist and physical therapist as nominal owners in

 order to reconstitute Harvey Family Chiropractic as Harvey FCPTA, in an effort to

 circumvent New York licensing laws and maximize profits by billing for services

 that he was otherwise prohibited by law from providing. A-30.




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        The Complaint further alleges that in violation of Article 12 of the LLC Law,

 at the time Harvey FCPTA was organized in the State of New York, its original

 nominal paper owners, acupuncturist Paul S. Wong (“Wong”) and physical

 therapist Ricardo S. Sanahon, Jr. (“Sanahon”), who are not named as defendants in

 this action, were members of Harvey FCPTA in name only; true ownership,

 management and control was held exclusively by Defendant-Appellee Harvey. A-

 12. When a purported acupuncturist or physical therapist member/owner ceased

 their employment relationship with Harvey FCPTA, Defendant-Appellee Harvey

 replaced them with another acupuncturist and/or physical therapist, who would

 similarly serve as a member/owner of Harvey FCPTA in name only. Irrespective

 of which licensed acupuncturist and/or physical therapist was listed on the articles

 of organization, none of them incurred any costs to establish and/or operate Harvey

 FCPTA, nor did they invest any money in the practice that they purportedly owned.

 A-30–31. In order to feign the appearance that a new business entity was being

 established, Defendant-Appellee Harvey moved the location of Harvey FCPTA

 from 944 North Broadway, Yonkers, NY, to 984 North Broadway, Yonkers, NY. A-

 30.

        The Complaint goes on to allege that Defendant-Appellee Harvey

 unilaterally established the manner and means through which Harvey FCPTA was

 set up and operated, A-31; provided all start-up and operating costs of Harvey



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 FCPTA, id.; exercised complete control over all aspects of Harvey FCPTA,

 including billing, hiring all professional and non-professional staff, collecting on

 the medical bills submitted to insurance companies, making personnel decisions,

 retaining attorneys to pursue No-fault collections on behalf of Harvey FCPTA,

 retaining other professionals such as accountants, establishing relationships with

 the clinics that referred “patients” to Harvey FCPTA, controlling the bank

 account(s) of Harvey FCPTA, determining what disbursements would be made

 from Harvey FCPTA’s account(s), determining what agreements would be entered

 into on behalf and/or in the name of Harvey FCPTA, and controlling and managing

 all other aspects of the finances of Harvey FCPTA. A-24–25.

        Further, the Complaint details how Harvey FCPTA’s operating agreement

 (the “Operating Agreement”), which purported to organize Harvey FCPTA as a

 PLLC in which the paper owners were listed as owners/members together with

 Defendant-Appellee Harvey, was nothing more than a device used by Defendant-

 Appellee Harvey to fraudulently conceal the actual relationship between the

 purported member owners of Harvey FCPTA , in order to deceive insurers into

 believing that Harvey FCPTA was a legitimate PLLC legally organized under the

 laws of the State of New York. A-31–32. In that regard, the Operating Agreement

 purports to allocate 1000 shares in Harvey FCPTA as follows: 970 shares (or 97%)

 to Defendant-Appellee Harvey as the PLLC’s member chiropractor, 20 shares or



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 (2%) to the PLLC’s member physical therapist, and 10 shares or (1%) to the

 PLLC’s member acupuncturist (though, in reality, no profits were distributed to the

 member physical therapist or acupuncturist). A-731. In fact, the Operating

 Agreement vested Defendant-Appellee Harvey with the unilateral right to make

 any and all decisions on behalf of Harvey FCPTA. A-32–33. Specifically, the

 Operating Agreement vested Defendant-Appellee Harvey with the exclusive right

 to call member meetings, approve mergers and sales and dispositions of assets, file

 bankruptcy and reorganization petitions, amend or its terms, remove a member,

 appoint managers, approve sales of new shares and the sale/transfer of members’

 shares, decide when profits are distributed, and dissolve Harvey FCPTA. Id.; see

 also A-731–33; A-736; A-738–40. The Complaint further alleges that the

 Operating Agreement was drafted by an attorney chosen by Defendant-Appellee

 Harvey without any input from any of the paper owners. A-32.

        In furtherance of the scheme to defraud, it is alleged that Defendant-

 Appellee Harvey solicited and secured Defendant-Appellees Hwangbo and Brual

 to serve as nominal owners of Harvey FCPTA, without having any attributes of

 real ownership in Harvey FCPTA. A-28. The Paper Owners did not exercise any

 control over Harvey FCPTA, nor did they maintain or have access to the books and

 records, including accounting, financial records, bank statements and reports

 relating to Harvey FCPTA, all of which were controlled and maintained by



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 Defendant-Appellee Harvey and/or others acting under his direction and control.

 A-34. By way of example and not limitation, the Paper Owners did not: (i) control

 Harvey FCPTA’s money or other assets; (ii) contribute any capital to Harvey

 FCPTA; (iii) negotiate any lease agreements relating to the physical premises and

 equipment for Harvey FCPTA; (iv) retain the attorney and/or accountant that

 drafted the incorporation papers and or Operating Agreements for Harvey FCPTA;

 (v) have access to any corporate books, bank accounts, financial or business

 ledgers; (vi) receive profits or percentage of profits, revenue or other income from

 Harvey FCPTA, except for their salary; (vii) receive written daily, weekly, monthly

 or annual accounting or financial ledger or reports concerning Harvey FCPTA’s

 account receivables or disbursements; (viii) manage the daily operations of Harvey

 FCPTA’s business; (ix) hire any employees, professional or non-professional; (x)

 retain the accountants that managed Harvey FCPTA’s financial affairs; or (xii)

 purchase, lease, select, order, arrange to maintain, or repair any of the office and/or

 medical equipment housed at Harvey FCPTA’s location. A-34–35.

        B. Harvey FCPTA’s Examination Under Oath
           and the Civil Court Actions_____________

        The allegations of the Complaint were confirmed in 2014 through the sworn

 testimony of Defendant-Appellees Brual and Hwangbo during Examinations

 Under Oath (“EUOs”). For example, Brual acknowledged that despite being listed

 on the articles of organization as a member/owner of Harvey FCPTA, he: (i)

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 considers himself an “employee” of Harvey FCPTA, A-236; (ii) earns a salary of

 $30.00 per hour, an amount which was set by Defendant-Appellee Harvey, A-224–

 25; (iii) has never received compensation based upon his purported ownership, A-

 228; (iv) does not know if any of the other members, including Defendant-

 Appellee Harvey, receive a salary, A-226; (v) is unaware of any of Harvey

 FCPTA’s employees’ salaries, A-232; (vi) did not contribute any capital to buy into

 Harvey FCPTA, A-227; (vii) is not aware of Harvey FCPTA’s overall revenues or

 net income, A-228; (viii) does not know the amount of Harvey FCPTA’s monthly

 billing to insurance companies for the physical therapy services which Harvey

 FCPTA, through Brual, purportedly provides, A-237; (ix) does not know Harvey

 FCPTA’s revenue for the physical therapy services that Harvey FCPTA, through

 Brual, provides, id.; (x) is not aware of how Harvey FCPTA’s lease is paid, A-228;

 (xi) is not a signatory on Harvey FCPTA’s bank account, A-229; (xii) has never

 discussed the daily operation of Harvey FCPTA with Defendant-Appellee Harvey,

 A-228; A-232–33; (xiii) did not interview or hire any Harvey FCPTA employees,

 including but not limited to its Physical Therapy Assistant, who was interviewed

 and hired solely by Defendant-Appellee Harvey, A-230–32; (xiv) is not aware of

 Harvey FCPTA’s billing procedure, A-233; (xv) has never seen any of Harvey

 FCPTA’s tax returns, A-234; (xvi) does not know the attorneys that Harvey FCPTA




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 uses, A-235; and (xvii) does not know who is responsible for Harvey FCPTA’s

 payroll. Id.

        Further proof that Harvey FCPTA is secretly owned solely by Defendant-

 Appellee Harvey is demonstrated through the EUO testimony of Defendant-

 Appellee Hwangbo in the same matter, who acknowledged that, despite being

 listed on the articles of organization as a member/owner of Harvey FCPTA, he: (i)

 is paid a salary by Defendant-Appellee Harvey of $35.00 per hour, A-243; (ii) is

 not a signatory on Harvey FCPTA’s bank account, A-246; (iii) has never

 participated in a meeting of the members of Harvey FCPTA, A-249; (iv) is

 unaware of any rights he has under the Operating Agreement which bears his

 signature, A-247–48; A-250; (v) does not possess a key to gain entry to the facility,

 A-251; (vi) does not have any knowledge concerning Harvey FCPTA’s revenue, A-

 252; (vii) has never received any dividends from Harvey FCPTA, A-244–46; A-

 252; (viii) is not aware of the amount of Harvey FCPTA’s payroll or how it is

 handled, A-253; A-256; (ix) is not aware of how much revenue Harvey FCPTA

 generates from acupuncture services he purportedly provides, A-254–55; (x) does

 not know who prepares Harvey FCPTA’s tax returns, A-255; (xi) does not review

 Harvey FCPTA’s tax returns before, or even know if, they are filed, A-255–56; (xii)

 is unaware of any of the finances of Harvey FCPTA, A-257–58; and (xiii) is not

 aware of Harvey FCPTA’s weekly and/or monthly income. A-258.



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        Subsequent to the admissions of Brual and Hwangbo in the 2014 EUOs,

 Harvey FCPTA began filing hundreds of New York City Civil Court and Nassau

 County District Court actions seeking reimbursement of No-fault benefits to which

 it is not entitled. For example, in 2015, Harvey FCPTA filed at least 200 such

 actions; overall there are over 100 Harvey FCPTA actions scheduled for future

 court appearances. It is these actions that Plaintiff-Appellants seek to enjoin, as

 they are part of Harvey FCPTA’s attempt to collect on the fruits of it ongoing

 fraudulent activity constituting RICO violations.

                               STANDARD OF REVIEW

        Although this Court reviews “a district court’s denial of a motion for a

 preliminary injunction for abuse of discretion,” it reviews “the district court’s legal

 conclusions de novo.” Safelite Grp., Inc. v. Jepsen, 764 F.3d 258, 261 (2d Cir.

 2014). Because the district court did not take issue with the underlying merits of

 Plaintiff-Appellants’ preliminary injunction motion, this appeal seeks review of

 only the district court’s interpretation of federal statutes underlying its decision.

 See S.E.C. v. Rosenthal, 650 F.3d 156, 158 (2d Cir. 2011) (“We review de novo the

 district court’s interpretation of a federal statute.”).

        In addition, a district court’s subsequent denial of a motion for

 reconsideration is reviewed for abuse of discretion. See Smith v. Hogan, 794 F.3d

 249, 253 (2d Cir. 2015). “A court abuses its discretion when its decision rests on a



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 legal error or a clearly erroneous factual finding, or when its decision does not fall

 within the range of permissible decisions.” RJE Corp. v. Northville Indus. Corp.,

 329 F.3d 310, 316 (2d Cir. 2003).

                                     ARGUMENT

                                            I.

        THE DISTRICT COURT WAS AUTHORIZED TO ISSUE THE
        PRELIMINARY INJUNCTION REQUESTED BY PLAINTIFF-
                         APPELLANTS

 A.     The District Court Would Have Granted the Preliminary
        Injunction in the Absence of the Perceived Procedural Hurdle

        As a threshold matter, it is noted that the Judge Johnson did not take issue

 with any of the substantive elements of Plaintiff-Appellants’ injunction request,

 explicitly indicating that he had previously granted such injunctions with respect to

 pending arbitrations. In fact, in Allstate Insurance Co. v. Tvildiani, 14-CV-07328

 (SJ) (RLM) (E.D.N.Y. March 5, 2015), Judge Johnson did just that. Tvildiani

 involved substantive facts that are virtually identical to the facts here. In Tvildiani,

 as here, the plaintiffs sought monetary relief and a final declaratory judgment for

 alleged RICO and related state law violations relating to the alleged fraudulent

 incorporation of a medical provider that submitted claims for payment to No-fault

 insurance carriers, including Plaintiffs. Plaintiffs alleged there, as they do here, that

 they paid the defendant medical provider’s No-fault claims in reliance on

 representations and information mailed to Plaintiffs contending that Defendants

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 were, among other things, in compliance with the No-fault Law and 11 N.Y.C.R.R.

 §§ 65 et seq. See Mem. in Supp. of Amended Mot. for Temporary Restraining

 Order, Tvildiani, 14-CV-07328 (SJ) (RLM) (E.D.N.Y. March 5, 2015), ECF No.

 12-3, at 5–6. In Tvildiani, as here, the professional service corporation defendants

 (“Defendant PCs”) initiated actions against the plaintiffs in arbitration, challenging

 the plaintiffs’ denials of their claims for payment and seeking reimbursement of the

 same. Id. at 5. The plaintiffs moved for an order preliminarily enjoining the

 Defendant PCs from filing and proceeding with any No-fault collection actions. Id.

 The district court granted the plaintiffs’ motion, finding that “Plaintiffs

 demonstrated that they face[d] irreparable harm absent the award of a preliminary

 injunction,” there were “sufficiently serious questions going to the merits to make

 them a fair ground for litigation,” and “[t]he balance of hardships tip[ped] in favor

 of staying arbitration.” Order Entering Preliminary Injunction, Tvildiani, 14-CV-

 07328 (E.D.N.Y. April 14, 2015) ECF No. 28.

        At bar, after Plaintiff-Appellants set forth their reasons for seeking the

 preliminary injunctions (which were exactly the same as in Tvildiani), Judge

 Johnson found that:

        This is the case where I have had some experience in other matters in
        which plaintiff has sought to have a preliminary injunction in a case in
        which there was a pending litigation in state court. I granted that
        injunction. It went up on appeal and I was reversed by the Second
        Circuit, saying I could not do that. So based upon that and my
        personal experience, I’m going to deny the preliminary injunction.

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        I’ll let the record reflect that I have issued a preliminary injunction,
        but that was for an arbitration, not for a civil litigation.

 A-776. Thus, as is clear from the transcript, Judge Johnson would have granted

 Plaintiff-Appellants’ application for a preliminary injunction of the underlying

 matters if they were pending in arbitration, but felt that he did not have the

 authority to do so in the context of state court litigations. For the reasons set forth

 below, it is respectfully submitted that the District Court does have such authority,

 and therefore erred by not issuing the preliminary injunction.

 B.     The “Expressly Authorized” Exception to the Anti-Injunction Act

        The Anti-Injunction Act (“AIA”), codified at 28 U.S.C. § 2283, prohibits

 federal courts from enjoining state court proceedings except, inter alia, “as

 expressly authorized by Act of Congress.” In Mitchum v. Foster, 407 U.S. 225

 (1972), the United States Supreme Court held that, in order to qualify for this

 exception, the statute in question need not contain an express reference to the AIA,

 nor must it explicitly authorize injunctions of state court proceedings. 407 U.S. at

 337. Rather, the Court explained that the test is simply whether “an Act of

 Congress, clearly creating a federal right or remedy enforceable in a court of

 equity, could be given its intended scope only by a stay of the state court

 proceeding.” Id. at 238.




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        Specifically, in Mitchum, the Supreme Court found that 42 U.S.C. § 1983

 (the “Civil Rights Act”) qualified as an expressly authorized exception to the Anti-

 Injunction Act, despite the absence of any explicit provision in the Civil Rights Act

 for specifically enjoining state court proceedings. The Court noted that by

 expressly authorizing a “suit in equity” to redress federal civil rights violations,

 Congress plainly authorized the federal courts to issue injunctions as one of the

 means of redress. Id. at 242. Looking at the overall purpose of the Act, the Court

 explained that the proponents of the Civil Rights Act “noted that state courts were

 being used to harass and injure individuals,” and that Congress’s concern in

 enacting Section 1983 was that “state instrumentalities could not protect those

 [federal civil] rights.” Id. at 240–42. Because of these concerns, the Court found

 that the Civil Rights Act could not be given its full intended scope absent the

 ability to stay state court proceedings. Accordingly, the Court ruled that the Civil

 Rights Act’s express authorization of general equitable relief, combined with the

 Congressional intent to “alter the relationship between the States and the Nation,”

 sufficiently qualified Section 1983 as an exception to the AIA “expressly

 authorized by Act of Congress,” permitting state court injunctions. Id.

        As set forth below, the same holds true here, where the RICO Act, which

 clearly created a right of equitable relief in order to restrain violations of its

 provisions, could only be given its intended scope by a stay of the State Court



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 Actions, which seek to further the RICO violations, and thus the District Court was

 mistaken in its belief that it lacked the authority to issue such an injunction.

 C.     The RICO Act Created a Remedy Enforceable in a Federal Court of
        Equity

        With respect to the first prong of the Mitchum analysis—whether the RICO

 Act created a federal right or remedy enforceable in a court of equity—Section

 1964(a) of the RICO Act explicitly and unambiguously empowers district courts

 with jurisdiction, and incredibly wide latitude, to issue orders that “prevent and

 restrain violations of [the RICO Act].” 18 U.S.C. § 1964(a). Moreover, the plain

 language of that section demonstrates that Congress, in passing the RICO Act,

 created uniquely federal remedies which are enforceable in federal courts of

 equity.2


 2
   Moreover, Section 1964(c) unquestionably empowers insurers to enforce RICO by bringing
 actions in federal court for injuries sustained by violations of the RICO Act, predicated upon
 health care providers’ violations of New York licensing laws—a power which has been
 exercised frequently. See 11 N.Y.C.R.R. § 65-3.16(a)(12); State Farm Mut. Auto. Ins. Co. v.
 Robert Mallela, 4 N.Y.3d 313 (2005); Liberty Ins. Corp. v. Leonid (Lenny) Brenman, No. 14-
 CV-5892 (CBA) (LB), 2016 WL 880170 (E.D.N.Y. Mar. 1, 2016); Gov’t Employees Ins. Co. v.
 Simakovsky, No. 14-CV-3775 (KAM) (SMG), 2015 WL 5821407 (E.D.N.Y. Oct. 5, 2015);
 Gov’t Employees Ins. Co. v. Zemlyansky, No. 13-CV-4966 (MKB) (SMG), 2015 WL 5692899
 (E.D.N.Y. Sept. 27, 2015); Allstate Ins. Co. v. Mirvis, No. 08-CV-4405 SLT VVP, 2015 WL
 1539671 (E.D.N.Y. Mar. 31, 2015), appeal dismissed (July 20, 2015); Gov’t Employees Ins. Co.
 v. Badia, No. 13-CV-1720 (CBA) (VMS), 2015 WL 1258218 (E.D.N.Y. Mar. 18, 2015); Gov’t
 Employees Ins. Co. v. Scheer, No. 13-CV-4039 (SLT) (SMG), 2014 WL 4966137 (E.D.N.Y.
 Sept. 30, 2014); Gov’t Employees Ins. Co. v. Hazel, No. 11-CV-0410 (CBA) (VMS), 2014 WL
 4628661 (E.D.N.Y. Sept. 15, 2014); Allstate Ins. Co. v. Smirnov, No. 12-CV-01246 (CBA)
 (SMG), 2014 WL 4437291 (E.D.N.Y. Sept. 8, 2014); Allstate Ins. Co. v. Elzanaty, 929 F. Supp.
 2d 199 (E.D.N.Y. 2013); Gov’t Employees Ins. Co. v. Uptown Health Care Mgmt., Inc., 945 F.
 Supp. 2d 284 (E.D.N.Y. 2013); Gov’t Employees Ins. Co. v. Esses, No. 12-CV-4424 (RJD)



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              i. The Plain Text of the RICO Act Created a Uniquely
                 Federal Right to Injunctive Relief______________

        Section 1964(a) of the RICO Act reads in full:

        The district courts of the United States shall have jurisdiction to
        prevent and restrain violations of section 1962 of this chapter by
        issuing appropriate orders, including, but not limited to: ordering any
        person to divest himself of any interest, direct or indirect, in any
        enterprise; imposing reasonable restrictions on the future activities or
        investments of any person, including, but not limited to, prohibiting
        any person from engaging in the same type of endeavor as the
        enterprise engaged in, the activities of which affect interstate or
        foreign commerce; or ordering dissolution or reorganization of any
        enterprise, making due provision for the rights of innocent persons.

        18 U.S.C. § 1964(a) (emphasis added). The plain text of the statute,

 permitting courts to issue orders in order to “prevent and restrain” violations of the

 RICO Act, explicitly including equitable relief, is unambiguous. In that regard,

 “statutory construction begins with the plain text, and, ‘where the statutory

 language provides a clear answer, it ends there as well.’” Raila v. United States,

 (VVP), 2013 WL 5972481 (E.D.N.Y. Nov. 5, 2013); Allstate Ins. Co. v. Howell, No. 09-CV-
 4660 (RJD) (VVP), 2013 WL 5447152 (E.D.N.Y. Sept. 30, 2013); Gov’t Employees Ins. Co. v.
 AMD Chiropractic, P.C., No. 12-CV-4295 (NG) (JO), 2013 WL 5131057 (E.D.N.Y. Sept. 12,
 2013); Cambridge Med., P.C. v. Allstate Ins. Co., 899 F. Supp. 2d 227 (E.D.N.Y. 2012); Liberty
 Mut. Ins. Co. v. Excel Imaging, P.C., 879 F. Supp. 2d 243 (E.D.N.Y. 2012); Allstate Ins. Co. v.
 Lyons, 843 F. Supp. 2d 358 (E.D.N.Y. 2012); Allstate Ins. Co. v. Bogoraz, 818 F. Supp. 2d 544
 (E.D.N.Y. 2011); Allstate Ins. Co. v. Rozenberg, 771 F. Supp. 2d 254 (E.D.N.Y. 2011); Gov’t
 Employees Ins. Co. v. Hollis Med. Care, P.C., No. 10-CV-4341 (ILG) (RML), 2011 WL
 5507426 (E.D.N.Y. Nov. 9, 2011); State Farm Mut. Auto. Ins. Co. v. Grafman, 655 F. Supp. 2d
 212 (E.D.N.Y. 2009); Allstate Ins. Co. v. Valley Physical Med. & Rehab., P.C., No. 05-5934
 (DRH) (MLO), 2009 WL 3245388 (E.D.N.Y. Sept. 30, 2009); Allstate Ins. Co. v. Ahmed
 Halima, No. 06-CV-1316 (DLI) (SMG), 2009 WL 750199 (E.D.N.Y. Mar. 19, 2009); State
 Farm Mut. Auto. Ins. Co. v. CPT Med. Servs., P.C., No. 04-CV-5045 (ILG), 2008 WL 4146190,
 (E.D.N.Y. Sept. 5, 2008); State Farm Mut. Auto. Ins. Co. v. Accurate Med., P.C., No. CV2007-
 0051(ENV) (MDG), 2007 WL 2908205 (E.D.N.Y. Oct. 4, 2007).



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 355 F.3d 118, 120 (2d Cir. 2004) (quoting Hughes Aircraft Co. v. Jacobson, 525

 U.S. 432, 438 (1999)). Importantly, when discerning the meaning of statutory

 language, the court should construe the statute “so that effect is given to all its

 provisions, so that no part will be inoperative or superfluous, void or insignificant.”

 Corley v. United States, 556 U.S. 303, 314 (2009). Section 1964(c) of the RICO

 Act grants private plaintiffs a right of action under the statute. Section 1964(a), in

 turn, grants district courts broad and general jurisdiction to fashion appropriate

 equitable relief in civil RICO actions, without any limitations as to who can seek

 such relief.3 Thus, a plain reading of the statute, giving due meaning to all its

 provisions, confirms that the district court is empowered to grant litigants, such as

 Plaintiff-Appellants, preliminary injunctive relief under RICO by virtue of Section

 1964(a).

        The precept that a district court may issue a preliminary injunction pursuant

 to 1964(a) has been acknowledged in the Eastern District of New York for at least




 3
   Although the question of whether or not Section 1964(a) of the RICO Act provides a
 mechanism by which a private party may sue for permanent injunctive relief remains open in this
 Circuit (and the majority of the district courts to examine this issue in the past fifteen years have
 held that it does, see, e.g., Huyer v. Wells Fargo & Co., 295 F.R.D. 332, 344 (S.D. Iowa 2013)),
 this Court need not determine that issue here. There can be no dispute that a private party may
 seek preliminary injunctive relief pursuant to the Federal Rules of Civil Procedure, and that
 district courts have the power to grant such relief pursuant to any power that the Court has
 jurisdiction to exercise. See Sykes v. Mel S. Harris and Assocs. LLC, 780 F.3d 70, 98 n.7 (2d Cir.
 2015). In the instant case, this power arises under Section 1964(a).



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 three decades. In Aetna Casualty & Surety Co. v. Liebowitz, 570 F. Supp. 908,

 (E.D.N.Y. 1983), aff’d, 730 F.2d 905 (2d Cir. 1984), the Court found:

        [A]lthough § 1964(c) states only that a private party may sue for
        treble damages, § 1964(a) gives the court broad jurisdiction to remedy
        violations of § 1962 by issuing ‘appropriate orders.’ Nothing in the
        statute indicates that a preliminary injunction would not be an
        ‘appropriate order’ within the meaning of § 1964(a).

        Judge Rakoff’s decision in Motorola Credit Corp. v. Uzan, 202 F. Supp. 2d

 239 (S.D.N.Y. 2002) is similarly illustrative. In rejecting the argument that private

 plaintiffs were barred from seeking preliminary injunctions under RICO, Judge

 Rakoff found that “[i]t would be extraordinary indeed if Congress, in enacting a

 statute that Congress expressly specified was to be ‘liberally construed to

 effectuate its remedial purposes,’ intended, without expressly so stating, to deprive

 the district courts of utilizing this classic remedial power in private civil actions

 brought under the act.” Uzan, 202 F. Supp. 2d at 244 (quoting Pub. L. No.91-452,

 § 904(a), 84 Stat. 947(1970)). Notably, Judge Rakoff found that such injunctions

 could be granted under both the general equitable powers conveyed to federal

 courts by the Judiciary Act of 1789 and “the specific grant of power given by

 Congress under Section 1964(a) of [the] RICO [Act].” Id. at 250 (emphasis

 added).

        At bar, despite the District Court having been provided with Uzan and other

 related cases cited herein, it failed to follow their clear import, or the clear import


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 of the text of Section 1964(a). Accordingly, the court’s denial of Plaintiff-

 Appellants’ application for a preliminary injunction of the State Court Actions,

 premised on the Court’s purported lack of authority to issue such an injunction,

 was contrary to the plain meaning of Section 1964(a) and was in error.

            ii. The RICO Act’s Legislative History
                Supports the Plain Language of the Statute

        Because the plain language of the RICO Act is unambiguous, there is no

 need for the Court to consider its legislative purpose. See Milner v. Dep’t of the

 Navy, 562 U.S. 562, 574 (2011). Even so, the RICO Act’s legislative purpose

 further supports the plain meaning of the statute, which allows for preliminary

 injunctive relief. The RICO Act was drafted in order to expand the role of the

 federal courts to issue “injunction and other relief [and] enlarge, strengthen, and

 vitalize the tools available” to fight racketeering. 115 CONG. REC. 9568 (1969).

 “The view was that existing law, state and federal, was not adequate to address the

 problem, which was of national dimensions.” United States v. Turkette, 452 U.S.

 576, 586 (1981). In response to concerns about the rampant spread of racketeering

 and organized crime in the 1960s, the RICO Act was created to provide a new and

 uniquely powerful tool to fight the “penetration of organized crime into the fabric

 of our society.” 115 CONG. REC. 9567 (1969). In setting out both criminal and

 civil repercussions, RICO was intended to be a multi-faceted attack on “criminals

 us[ing] racketeering methods in legitimate fields of endeavor.” Id. Because

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 individuals convicted under then-existing criminal laws could simply “use the

 same knowhow acquired to start the same business again under a different name,”

 it was crucial to create a statutory scheme that could effectively remove “this

 cancer … by direct attack, by forceable[sic] removal and prevention of return.” Id.

 at 9567–68 (emphasis added). It was this need for a new, expansive, and

 comprehensive remedy to the ongoing issue of racketeering that led to the creation

 of what later became Section 1964(a).

        When RICO was introduced in the Senate in 1969, Senator John McClellan,

 who oversaw the drafting of the bill, explained:

        I believe it necessary to make several clarifying remarks on the
        antitrust [style] remedies this bill provides … There is … no intention
        here of importing the great complexity of antitrust law4 enforcement
        into this field … The many references to antitrust cases are necessary
        because the particular equitable remedies desired have been brought
        to their greatest development in this field, and in many instances they
        are the primary precedents for the remedies in this bill. Nor do I mean
        to limit the remedies available to those which have already been
        established. The ability of our chancery courts to formulate a remedy
        to fit the wrong is one of the great benefits of our system of justice.
        This ability is not hindered by the bill. … Again I emphasize that the
        remedies are not confined to those listed.



 4
   In drafting the RICO Act, Congress modeled it largely on antitrust laws—specifically, the
 Sherman Act, codified at 15 U.S.C. §§ 1-7, and the Clayton Act, codified at 15 U.S.C. §§ 12–27,
 29 U.S.C. §§ 52–53, but designed it to go beyond the equitable remedies previously established
 under antitrust law. As the Supreme Court has recognized, the RICO Act is a “far-reaching civil
 enforcement scheme,” Sedima, S.P.R.L. v. Imrex Co., 473 U.S. 479, 483 (1985), that goes above
 and beyond any similar pre-existing legislation—and it does so on purpose.




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 115 CONG. REC. 9567–68 (1969) (emphasis added). The 1969 Senate Committee

 Report on the proposed bill confirms the congressional intent to create a broad and

 powerful tool against racketeering:

        What is needed here, the committee believes, are new approaches that
        will deal not only with individuals, but also with the economic base
        through which those individuals constitute such a serious threat to the
        economic well-being of the Nation. In short, an attack must be made
        on their source of economic power itself, and the attack must take
        place on all available fronts.

 S. REP. No. 91–617, p. 79 (1969).

        As demonstrated by the RICO Act’s legislative history, it is evident that

 Congress created the RICO Act, in general, and Section 1964(a), in particular, in

 order for Federal Courts to be able to use all available weapons in their arsenal in

 order to combat racketeering, and specifically, far-reaching equitable remedies. It

 is for that reason that the Supreme Court has consistently thwarted lower courts’

 efforts to narrow RICO’s scope (see Section I.D, infra). Consequently, when

 reading the unambiguous text of section 1964(a) in light of Congress’s expressed

 remedial intent, the only coherent reading of the statute is one that allows plaintiffs

 to seek preliminary injunctive relief under section 1964(a), to prevent and restrain

 alleged violations of the RICO Act.

        In sum, both the plain meaning of the statutory text and the legislative

 history of the RICO Act support the conclusion that Section 1964(a) permits the

 issuance of preliminary injunctions as a uniquely federal remedy enforceable in a

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 federal court of equity, thus satisfying the first part of the Mitchum test.

 Accordingly, it is respectfully submitted that 1964(a) authorizes the preliminary

 injunctive relief that Plaintiff-Appellants seek here.

        D. The RICO Act Can Only Be Given Its Intended
           Scope By a Stay of the State Court Actions____

        With respect to the second prong of the Mitchum test—whether the RICO

 Act could be given its intended scope only by a stay of the state court

 proceedings—such is clearly the case here. The Supreme Court has time and again

 emphasized the RICO Act’s broad remedial purpose, referencing both Congress’s

 express intent, through legislative history, and its “self-consciously expansive

 language and overall approach.” Sedima, S.P.R.L. v. Imrex Co., 473 U.S. 479, 498

 (1985) (“The statute’s ‘remedial’ purposes are nowhere more evident than in the

 provision of a private action for those injured by racketeering activity. . . . RICO

 was an aggressive initiative to supplement old remedies and develop new methods

 for fighting crime. . . . [I]t is in this spirit that all of the Act’s provisions should be

 read.”). This holds true even when RICO is used outside of the context of

 traditionally conceived “organized crime.” H.J. Inc. v. Nw. Bell Tel. Co., 492 U.S.

 229, 248 (1989) (“The occasion for Congress’ action was the perceived need to

 combat organized crime. But Congress for cogent reasons chose to enact a more

 general statute, one which, although it had organized crime as its focus, was not

 limited in application to organized crime.”). Indeed, as the Supreme Court has

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 opined, “[t]he object of civil RICO is . . . not merely to compensate victims but to

 turn them into prosecutors, private attorneys general, dedicated to eliminating

 racketeering activity.” Rotella v. Wood, 528 U.S. 549, 558 (2000) (internal

 quotations and citations omitted).

        To that end, Congress specifically instructed that the RICO Act “be liberally

 construed to effectuate its remedial purposes.” Id. n.3. Interpreting the RICO Act

 to allow private plaintiffs to seek preliminary equitable relief, in order to prevent

 and restrain RICO violations, clearly promotes that objective. A contrary reading

 would risk stripping federal courts of their power to issue effective relief in cases

 involving an ongoing racketeering scheme, which would undermine the RICO

 Act’s purpose and severely undercut its intended scope. Indeed, consistent with

 Congress’s stated purpose of enacting RICO as a broad and powerful piece of

 legislation, the Supreme Court has repeatedly rebuked lower courts’ efforts to

 narrow RICO’s scope. See Cedric Kushner Promotions, Ltd. v. King, 533 U.S. 158,

 164 (2001) (declining to hold that an individual cannot be a separate entity from

 his wholly owned corporation for purposes of distinguishing RICO defendant from

 RICO enterprise); Salinas v. United States, 522 U.S. 52, 63 (1997) (declining to

 apply overt act requirement to RICO conspiracy provision); Nat’l Org. for Women,

 Inc. v. Scheidler, 510 U.S. 249, 262 (1994) (declining to find economic motive

 requirement for RICO “enterprise”); Sedima, S.P.R.L. v. Imrex Co., 473 U.S. 479



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 (1985) (declining to require criminal conviction prior to allowing civil RICO

 action and declining to require injury from “racketeering” separate from the

 predicate acts); United States v. Turkette, 452 U.S. 576 (1981) (declining to limit

 §1962 to “legitimate” enterprises).

        In sum, given the express congressional intent to empower the federal

 courts, via Section 1964(a), to employ an expansive set of tools, both traditional

 and new, to “prevent and restrain” violations of the RICO Act, the intended scope

 of the RICO Act plainly encompasses the power of district courts to issue

 preliminary injunctive relief. See Uzan, 202 F. Supp. 2d at 244. In the instant case,

 Plaintiff-Appellants asked the District Court to exercise its uniquely federal powers

 in order to prevent and restrain further violations of 18 U.S.C. § 1962, by placing a

 temporary hold on Defendant-Appellees’ State Court Actions, which directly seek

 the fruits of their racketeering activity. In light of the incredibly wide latitude

 given to district courts in shaping equitable relief in RICO actions, and the

 congressional and judicial guidance consistently reaffirming RICO’s broad scope,

 it is clear that the provisional remedy sought by Plaintiff-Appellants here—a

 temporary stay of the State Court Actions in order to preserve the status quo and

 prevent and restrain further violations of Section 1962—is certainly within the

 breadth of the RICO Act, and in fact, is necessary in order to give the RICO Act its

 intended extensive remedial purpose and scope. As such, in accordance with the



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 Supreme Court’s guidance in Mitchum, the RICO Act qualifies as an exception to

 the AIA, expressly authorized by Act of Congress.

              i. The RICO Act is Particularly Appropriate
                 as an Expressly Authorized Exception to the
                 Anti-Injunction Act                       _

        The Supreme Court has found the “expressly authorized” exception to the

 Anti-Injunction Act particularly applicable when it is “evident that Congress

 clearly conceived that it was altering the relationship between the States and the

 Nation with respect to the protection of federally created rights.” Mitchum v.

 Foster, 407 U.S. 225, 242 (1972). This is precisely the case with the RICO Act. As

 the Supreme Court has acknowledged:

        Congress was well aware that it was entering a new domain of federal
        involvement through the enactment of this measure. . . . Congress was
        well aware of the fear that RICO would move large substantive areas
        formerly totally within the police power of the State into the Federal
        realm. . . . In the face of these objections, Congress nonetheless
        proceeded to enact the measure, knowing that it would alter somewhat
        the role of the Federal Government in the war against organized
        crime . . . .

 United States v. Turkette, 452 U.S. 576, 586–87 (1981) (citing 116 CONG. REC.

 35217 (1970)) (emphasis added). The Supreme Court, in Turkette, refused to place

 certain limitations on RICO with full knowledge that doing so would “substantially

 alter the balance between federal and state enforcement of criminal law.” Id.

 Indeed, Congress quite intentionally altered the balance between federal and state

 courts via the RICO Act, because the fear of wide-spread corruption that motivated

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 RICO’s passing was not limited to private business, but extended to “the entire

 democratic process itself”—including the judicial process. United States v. Brown,

 555 F.2d 407, 416 (5th Cir. 1977) (quoting Pub. L. No. 91–452, § 1, 84 Stat. 922

 (1970)). Consequently, even state courts are not immune from RICO’s reach. See,

 e.g., United States v. Frumento, 563 F.2d 1083, 1090-91 (3d Cir. 1977) (declining

 to carve out a governmental entity exception to RICO, because “Congress did not

 confine its scrutiny to special areas of economic activity”); U.S. v. Stratton, 649

 F.2d 1066, 1074 (5th Cir. 1981) (finding that state courts may be part of a RICO

 enterprise).

        Reading the RICO Act as a whole, from the broad remedial powers it

 bestows upon the district courts, to the breadth of its applicability even to state

 judiciaries, the Act clearly contemplates a comprehensive enforcement scheme by

 which the federal courts are expressly empowered to address violations of the

 RICO Act’s provisions in any form—including state court actions.

            ii.      The Expressly Authorized Exception to the AIA
                     Applies Where the State Court Action
                     Contribute to Ongoing Violations of
                     a Federal Statute                          _

        As this Court has acknowledged, where a federal statute empowers the

 district courts to restrain violations of its provisions, and “the state court action is

 predicated . . . [on a] contravention of the federal statute,” injunction of such action



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 is appropriate under the “expressly authorized” exception to the AIA. Studebaker

 Corp. v. Gittlin, 360 F.2d 692, 698 (2d Cir. 1966). This is precisely the situation at

 bar, where the State Court Actions are an attempt by Defendant-Appellees to

 collect on the fruits of their RICO enterprise. Because of Harvey FCPTA’s

 fraudulent incorporation and illegal corporate structure, it is not eligible for

 reimbursement under the No-fault law. 11 N.Y.C.R.R. § 65-3.16 (a)(12). Yet,

 Harvey FCPTA is currently pursuing hundreds of state court actions to attempt

 exactly what it is prohibited by law from doing, in furtherance of the RICO

 enterprise. Thus, under the narrow factual circumstances present at bar, the RICO

 Act qualifies as an “expressly authorized” exception to the AIA, under which the

 district court may grant the preliminary injunction requested by Plaintiffs in order

 to prevent further violations of the statute.

        The United States Supreme Court has approved the proposition that an Act

 of Congress may provide an exception to the AIA when the underlying state court

 actions sought to be enjoined are part of the very activities prohibited by the

 statute. In Vendo v. Lektro-Vend Corp., 433 U.S. 623 (1977), the Supreme Court

 held that the equitable relief provisions in the antitrust laws—from which section

 1964(a) of the RICO Act was derived—are an exception to the AIA in the narrow

 circumstances where the state court proceedings were being used as part of an

 antitrust violation.



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        Specifically, in Vendo, the Supreme Court considered whether the AIA

 barred an injunction enjoining state court proceedings under section 16 of the

 Clayton Act. Id. at 629. Similar to RICO’s grant of jurisdiction to “prevent and

 restrain” RICO violations, 18 U.S.C. § 1964(a), section 16 of the Clayton Act

 authorizes courts to grant injunctive relief “against threatened loss or damage by

 violation of the antitrust laws.” Id. at 631. While the justices were divided in their

 rationales (three in plurality; two in concurrence; and four in dissent), a majority of

 the justices agreed that such injunctive relief under the Clayton Act was, under the

 right circumstances, an expressly authorized exception to the AIA. Id. at 643–58

 (concurrence and dissent).5 Writing the controlling opinion, Justice Blackmun

 found that an injunction under the Clayton Act would not run afoul of the AIA if

 three prerequisites were met: (1) the state court proceedings were themselves part

 of the antitrust violation; (2) the traditional equitable factors warranted an

 injunction; and (3) “the only way to give the antitrust laws their intended scope is

 by staying the state proceedings” (essentially, the Mitchum test). Id. at 644

 (Blackmun, J., concurring).

        At bar, there can be no dispute that Plaintiff-Appellants have satisfied the

 prerequisites set forth in Justice Blackmun’s controlling concurrence in Vendo.
 5
  Because there was no majority decision for the court, Justice Blackmun’s concurrence, joined
 by Chief Justice Burger, as the narrowest of the three opinions, is controlling. See Panetti v.
 Quarterman, 551 U.S. 930, 949 (2007) (“When there is no majority opinion, the narrower
 holding controls.”).



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 First, the Defendant-Appellees here, through the affairs of the RICO enterprise, are

 perversely using state courts as tools for their ongoing RICO violation. As alleged

 in the Complaint and demonstrated through the evidence submitted to the District

 Court, Harvey FCPTA is an enterprise through which the Defendants have

 engaged in a pattern of racketeering, namely submitting fraudulent insurance

 claims and pursuing collections on those claims. In that regard, Harvey FCPTA

 now has hundreds of state court actions pending against Plaintiff-Appellants, all of

 which seek to collect the proceeds from the fraud that forms the very basis of the

 RICO violation. Second, as discussed in Section I.A, supra, and Section II, infra,

 Judge Johnson took no issue with Plaintiff-Appellants’ satisfaction of the

 preliminary injunction factors, as Plaintiff-Appellants have well satisfied that

 standard. Third, as discussed in Section I.D, supra, the RICO Act fully passes the

 Mitchum test, as the only way to give RICO its intended scope in the instant case is

 to stay the State Court Actions. Thus, in light of the broad intended scope of the

 RICO Act, and the pronouncements of this Court and the United States Supreme

 Court, the district court must be able to use the broad jurisdiction granted to it

 under section 1964(a) to temporarily enjoin state court proceedings that subvert the

 judicial process by furthering the underlying RICO violation, such as those at bar.




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                                          II.

  THE DISTRICT COURT ERRED BY NOT ISSUING THE PRELIMINARY
       INJUNCTION REQUESTED BY PLAINTIFF-APPELLANTS


        “A party seeking a preliminary injunction must establish irreparable harm

 and either (a) a likelihood of success on the merits or (b) sufficiently serious

 questions going to the merits and a balance of hardships tipping decidedly in its

 favor.” Kamerling v. Massanari, 295 F.3d 206, 214 (2d Cir. 2002). As noted in

 Section I.A, supra, Judge Johnson would have granted Plaintiff-Appellants’

 application for a preliminary injunction but for his incorrect belief that he was

 precluded from doing so. The reason for that is clear: Plaintiff-Appellants’ moving

 papers and oral argument overwhelmingly established their right to such relief.

             A.    Plaintiff-Appellants Established Irreparable Harm

        “To establish irreparable harm, a party seeking preliminary injunctive relief

 must show that there is a continuing harm, which cannot be adequately redressed

 by final relief on the merits and for which monetary damages cannot provide

 adequate compensation.” Kamerling, 295 F.3d at 214 (internal quotations and

 citations omitted). In addition, irreparable harm must be shown to be actual and

 imminent, and not remote or speculative. Id. Here, there is no doubt that Plaintiff-

 Appellants will suffer irreparable harm in the absence of the requested preliminary

 injunction and accompanying stay.



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        In the instant case, Plaintiff-Appellants are seeking, among other things, a

 final declaratory judgment that they are not required to pay any No-fault claims

 from Harvey FCPTA that seek reimbursement for medical services, due to Harvey

 FCPTA’s fraudulent organization. That relief, by its very nature, is equitable and

 therefore cannot be redressed by monetary damages. See Merrill Lynch, Pierce,

 Fenner & Smith Inc. v. Doe, 868 F. Supp. 532, 535 (S.D.N.Y. 1994). Indeed, if the

 requested injunction is not granted and the State Court Actions are allowed to

 proceed, any such actions resulting in rulings with regard to Harvey FCPTA’s

 eligibility for reimbursement of No-fault insurance payment that are inconsistent

 with this Court’s ruling on the same issue would severely threaten any judgment of

 this Court. See Allstate Ins. Co. v. Elzanaty, 929 F. Supp.2d 199, 220 (E.D.N.Y.

 2013) (granting a stay of pending No-fault actions because allowing them to

 proceed “would severely threaten any judgment of [the] Court to have pending

 arbitrations or future arbitrations result in inconsistent rulings with regard to

 [defendant medical providers’] eligibility for reimbursement of No-Fault insurance

 payments . . . .”). That threat, which could ultimately strip Plaintiff-Appellants of

 their right to seek and be awarded a declaratory judgment by this Court, clearly

 meets the threshold for irreparable harm.       Moreover, with no stay in place,

 Plaintiff-Appellants are required to litigate the related actions while the instant

 declaratory judgment action is pending, expending resources in litigating matters



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 relating to insurance proceeds that Defendant-Appellees are not entitled to in the

 first place due to their fraudulent activity.

        Putting aside that it is impractical for a New York City Civil Court Judge to

 adequately consider the substantive Federal questions raised in the Complaint, any

 such litigations in state court are and will be presented to many different judges,

 and will undoubtedly result in a gallimaufry of independent and potentially

 contradictory conclusions. Further, if the district court were to ultimately grant

 declaratory judgment in Plaintiff-Appellants’ favor, and find that Harvey FCPTA

 is not properly licensed and therefore ineligible for reimbursement, to the extent

 that state court decisions resulted in contrary conclusions, Allstate would be forced

 into a position where it must either pay a judgment for a claim this Court has

 determined is void, or appeal the state court judgment, unnecessarily drawing out

 the litigation. Indeed, if the State Court Actions are not stayed, Plaintiff-Appellants

 will be forced to make repetitious arguments in myriad litigations and/or

 arbitrations, resulting in inconsistent decisions, which may ultimately be

 unenforceable in any case, or which may be enforced by the state courts

 contemporaneously with a contrary decision in this Court, causing harm to

 Plaintiff-Appellants from which they could not recover.




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        It is for precisely this reason that the Court in Elzanaty, 929 F. Supp. 2d 199

 (relied upon by the District Court in Tvildiani, 14-CV-07328), granted a similar

 motion to the one at bar, finding:

        [i]f this Court were to grant a declaratory judgment finding [defendant
        medical professional corporations] ineligible for reimbursement, it
        may be that an award won by the Defendants in arbitration would
        conflict with this Court's ruling and may not be enforceable. With this
        in mind, it cannot be said that the only injuries at stake here are
        “money, time and energy necessarily expended in the absence of a
        stay”, which are not considered “irreparable.” . . . [T]here is a
        concern here with wasting time and resources in an arbitration with
        awards that might eventually be, at best, inconsistent with this Court's
        ruling, and at worst, essentially ineffective. The Court need not
        address now the precise effect of an inconsistent declaratory judgment
        from this Court on certain arbitration awards. It is sufficient to
        recognize the large realm of potential problems this may cause on the
        validity of those awards, especially in light of their multitude and
        internal inconsistency with each other.

 Elzanaty, 929 F. Supp. 2d at 221–22 (quoting Jayaraj v. Scappini, 66 F.3d 36, 39

 (2d Cir.1995)) (emphasis added).6 Accordingly, the court found that “allowing a


 6
   The Elzanaty Court also addressed its authority to issue the requested stay pursuant to the All
 Writs Act, 28 U.S.C. § 1651, which allows federal courts to “issue all writs necessary or
 appropriate in aid of their respective jurisdictions and agreeable to the usages and principles of
 law,” and noted that the Second Circuit’s decision in In re American Exp. Financial Advisors
 Secs. Litig., 672 F.3d 113 (2d Cir.2011). expressly allows the possibility that, in certain
 circumstances, the All Writs Act could permit a court to enjoin arbitration. Elzanaty, 929 F. Supp
 at 219-220. Elzanaty further found that in the case before the Court, which is identical to the
 matter at bar, since a stay merely means that the providers’ “rights are delayed, rather than
 effectively terminated . . . a stay is the most appropriate solution here in order to avoid the large
 volume of arbitrations and inconsistent judgments that are gradually culminating in a procedural
 and substantive train wreck. . . . In the Court’s view, this situation presents precisely the kind of
 circumstance envisioned by the Second Circuit when it left the express exception it did in In re
 American Express.” Elzanaty, 929 F. Supp. 2d at 220.




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 large number of proceedings to be heard by a mix of arbitrators, each of whom will

 likely come to their own independent and potentially contradictory conclusions,

 will result in harm to Allstate from which it cannot recover.” Id. at 222. The

 reasoning used in Elzanaty and Tvildiani is applicable here, where a stay would be

 the most economic result and guide the outcome of pending and future litigations.

 Indeed, if the district court finds Harvey FCPTA to be ineligible for reimbursement

 due to its illegal corporate structure, then all pending and future No-Fault matters

 become moot. If however, the district court finds that Harvey FCPTA is not

 structured illegally, then any defense on that ground in the related litigations

 similarly becomes moot. Accordingly, the district court’s decision in this matter

 will very likely dispose of the main controversies in the related litigations and thus,

 a stay of the State Court Actions until a disposition is reached in the district court is

 manifestly appropriate.

        Judge Spatt’s decision in Elzanaty, and Judge Johnson’s decision in

 Tvildiani, are not aberrations, but are in accord with a long line of federal and state

 court cases which have stayed both state court proceedings and arbitrations

 pending the determination of a related No-fault declaratory judgment action. For

 example, in Government Employees Insurance Co. v. Damien, a matter which also

 involved an alleged scheme by defendants to fraudulently obtain No-fault

 payments from plaintiff-insurers through medical professional corporations, Judge



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 Townes granted plaintiff-insurers’ request for a stay and ordered the defendant

 medical professional corporations:

        [E]njoined from commencing and/or prosecuting, or causing to be
        commenced or prosecuted, any future collection proceeding against
        [plaintiffs] seeking payment for No-fault benefits . . . either through
        state court proceedings or arbitration, except as counterclaims to this
        action, and . . . from prosecuting any collection proceedings currently
        pending in arbitration before the American Arbitration Association
        between [plaintiffs] and [defendant medical professional
        corporations], or any of them, and all such arbitrations are hereby
        stayed pending resolution of this action.

        Order for Injunctive Relief, Damien, 10-CV-5409 (SLT) (JMA) (E.D.N.Y

 Jan. 4, 2011), ECF No. 63 (emphasis added). Similarly, in Liberty Mutual

 Insurance Co. v. Excel Imaging, P.C., Judge Weinstein also stayed pending No-

 fault arbitrations, finding that “[p]ermitting these individual claims to proceed to

 arbitration while [a related] claim for a declaratory judgment remains pending in

 this court puts the plaintiffs at significant risk of multiple judgments that may be

 inconsistent with the ultimate decision in this case.” 879 F Supp. 2d 243, 264

 (E.D.N.Y. 2012); accord Michael Miller Fabrics, LLC v. Studio Imports Ltd., Inc.,

 12-CV-3858 (KMW) (JLC), 2012 WL 2065294 (S.D.N.Y. June 7, 2012) (staying a

 parallel court action filed by defendant because allowing it to go forward would




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 create the impermissible risk of irreparable harm in the form of potentially

 inconsistent decisions).7

        As these Federal and State Court cases demonstrate, the potential harm to

 Allstate from moving forward with hundreds of related litigations while a

 declaratory judgment action is pending in federal court is actual, imminent and

 real, and thus the requested stay will have the dual effect of protecting Allstate

 7
   New York State Courts are also in agreement, specifically regarding actions wherein an insurer
 seeks a declaration that a defendant medical providers is not entitled to recover No-fault benefits
 due to fraud. See, e.g., Allstate Ins. Co. v. P.R. Medical, P.C., 01949-CV-2010 (Sup. Ct. Mar. 4
 2015) (staying all pending No-fault arbitrations and lawsuits pending the outcome of the
 declaratory judgment to avoid repetitive litigation of the same issues); Allstate Ins. Co. v. Bay
 Needle Care Acupuncture, P.C., 150613-CV-2013 (Sup. Ct. March 3, 2015) (staying all pending
 No-Fault proceedings commenced by defendants pending the outcome declaratory judgment to
 avoid risking “inconsistent decisions in a multiplicity of suits and arbitration proceedings”);
 Compass Med., P.C. v. GEICO Ins. Co., 41 Misc. 3d 141(A), 2013 N.Y. Slip Op. 52016(U) (App.
 Term 2013) (staying New York City Civil Court PIP action pending outcome of insurer’s
 Supreme Court action for declaratory judgment and fraud); 21st Century Advantage Ins. Co. v.
 Cabral, 35 Misc. 3d 1240(A), 2012 N.Y. Slip Op. 51086(U) (Sup. Ct. 2012) (enjoining PIP
 litigation in lower courts pending outcome of declaratory judgment and fraud claims in Supreme
 Court); GEICO Ins. Co. v. Williams, 2011 NY Slip Op. 30326U at * 10 - * 11 (Sup. Ct. 2011)
 (staying all pending No-fault arbitrations pending the outcome of the declaratory judgment due
 to the possibility of 19 significantly varying outcomes if the plaintiff-insurer was required to
 litigate each allegedly fraudulent claim separately); AIU Ins. Co. v. Deajess Med. Imaging, P.C.,
 24 Misc. 3d 161, 165 (Sup. Ct. 2009) (staying state court actions and arbitrations, and
 consolidating them with the declaratory judgment action, noting the large number of actions and
 arbitrations involving the common question of the defendants’ eligibility for No-fault
 reimbursement.); Safeco Ins. Co. of Ind. v. Morel, 2009 NY Slip Op 32187U at *3- *4 (Sup. Ct.
 2009) (staying the defendants’ pending arbitrations noting that a single, declaratory judgment
 action was the most efficient means to resolve the dispute amongst the parties); AutoOne Ins. Co.
 v. Manhattan Heights Med., P.C., 2009 NY Slip Op. 51663U at *3-*4 (Sup. Ct. 2009) (staying
 No-fault collection matters to prevent repetitive litigation and arbitration where the Supreme
 Court declaratory judgment action would universally determine whether the professional
 corporations were fraudulently incorporated); St. Paul Travelers Ins. Co. v Nandi, 15 Misc. 3d
 1145(A), 2007 N.Y. Slip Op. 51154(U) (Sup. Ct. 2007) (enjoining PIP actions in lower courts
 pending outcome of declaratory judgment and fraud claims in Supreme Court “in view of the
 multiplicity of lawsuits and the possible inconsistent outcomes in the absence of an injunction”).




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 from that harm and protecting the issues in dispute before the district court from

 dozens of potentially contradictory conclusions which would only serve to confuse

 those issues.

      B.    There Are Sufficiently Serious Questions Going to the Merits of
               this Matter to Make Them a Fair Ground For Litigation

        In addition to a showing of irreparable harm, a party seeking a preliminary

 injunction must demonstrate either (a) a likelihood of success on the merits or (b)

 sufficiently serious questions going to the merits to make them a fair ground for

 litigation, and a balance of hardships tipping decidedly in the movant’s favor. In

 cases such as the one at bar, where the Complaint outlines, in great detail, complex

 schemes to defraud which require extensive discovery and further investigation of

 matters within the peculiar knowledge of the Defendant-Appellees, it would be

 premature for the court to determine the likelihood of Plaintiff-Appellants’ success

 on the merits. See e.g., Bruce v. Martin, 680 F. Supp. 616, 622 (S.D.N.Y. 1988)

 (“[I]t would be premature at this stage of the proceedings to offer any opinion on

 whether the plaintiffs have shown a likelihood of success on the merits. It suffices

 to say that the pleadings of the plaintiffs have shown sufficiently serious questions

 going to the merits to make them fair grounds for litigation and a balance of

 hardships tipping decidedly in their favor.”); see also Hamilton Watch Co. v.

 Benrus Watch Co., 206 F.2d 738, 740 (2d Cir. 1953) (“To justify a temporary

 injunction, it is not necessary that the plaintiff’s right to a final decision, after a

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 trial, be absolutely certain, wholly without doubt; if the other elements are present

 (i.e., the balance of hardships tips decidedly toward plaintiff), it will ordinarily be

 enough that the plaintiff has raised questions going to the merits so serious,

 substantial, difficult and doubtful, as to make them a fair ground for litigation and

 thus for more deliberate investigation”). In the instant case, Plaintiff-Appellants

 easily demonstrated to the district court sufficiently serious questions going to the

 merits, as well as a balance of hardships tipping in Plaintiff-Appellants’ favor.8

        As in Tvildiani, the Complaint in this action clearly sets forth sufficiently

 serious questions going to the merits to make them fair grounds for litigation. As

 noted above, the Complaint raises serious questions regarding the ownership of

 Harvey FCPTA, which operated a well-organized illegal enterprise that engaged in

 systematic and fraudulent practices, and schemed to defraud, and did defraud,

 Allstate of hundreds of thousands of dollars. Indeed, the Complaint details how the

 nominal paper owners of Harvey FCPTA were divested of any and all attributes of

 ownership and control, which was diverted to Defendant-Appellee Harvey.

 Plaintiff-Appellants have particularized the fraudulent statements made by

 Defendant-Appellees within the body of the Complaint, as well as in numerous

 Exhibits and Predicate Act tables, which are annexed thereto and identify, among
 8
   It is noted that, while the threshold showing of sufficiently serious questions going to the merits
 is easily made out here, Plaintiff-Appellants can also easily show a likelihood of success on the
 merits based upon the sworn EUO testimony of Defendants Hwangbo and Brual, in which they
 acknowledged that they were not owners of Harvey FCPTA.



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 other things, representative fraudulent mailings to each of the Plaintiff-Appellants

 by or on behalf of Harvey FCPTA, including claim numbers, claimant initials and

 dates of service. Moreover, the EUO transcripts of Defendant-Appellees Hwangbo

 and Brual, and the Harvey FCPTA Operating Agreement, support Plaintiff-

 Appellants’ claims that Defendant-Appellee Harvey exclusively owned, operated,

 controlled and managed Harvey FCPTA, in contravention of No-fault law. See

 Statement of Relevant Facts, Section 2, supra. To the extent that Harvey FCPTA

 represented to Plaintiff-Appellants, through the submission of claims, that it is

 properly licensed, and to the extent Harvey FCPTA disputes the well-pled

 allegations of the Complaint, there is no doubt that Plaintiff-Appellants have raised

 sufficiently serious questions to make them fair grounds for litigation. See e.g.,

 Dandong v. Pinnacle Performance Ltd., 2011 WL 6156743 (S.D.N.Y. Dec. 12.

 2011) (“The Second Circuit has held that conflicting stories between parties can

 establish a sufficiently serious question going to the merits for the purposes of

 justifying a preliminary injunction.” (quotations and citations omitted)).

        C.    The Balance of Hardships Tips Decidedly in Allstate’s Favor

        As noted in Section II.A, supra, if the requested relief is not granted,

 Plaintiff-Appellants will be required, in the context of civil court litigations, to

 undertake significant time and expense to litigate hundreds of related matters while

 the instant declaratory judgment is pending. Allstate will be made to make



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 repetitious arguments in these matters, which could ultimately result in

 unenforceable and likely inconsistent decisions. In addition, the results of these

 proceedings, which will be occurring on an ongoing basis throughout the pendency

 of this action, will undoubtedly be brought before the district court by the

 prevailing parties in those matters, which will do little more than dilute the issues

 before the court regarding the complex allegations in the Complaint, rather than

 sharpen them. It is respectfully submitted that the requested TRO and stay is the

 only way to avoid the large volume of litigations and inconsistent judgments that

 could culminate “in a procedural and substantive train wreck.” See Elzanaty, 929

 F. Supp. 2d at 220; Tvildiani, 14-CV-7328 (April 14, 2015) (“Justice would be

 better administered with the fewest number of fora hearing the issues….”).

        In addition, it would be fundamentally unfair to Plaintiff-Appellants to

 allow Harvey FCPTA to seek No-fault payments from Plaintiff-Appellants in other

 proceedings, when the fundamental issue concerning their eligibility to be paid in

 the first place is at issue in this matter. This is especially true in light of Harvey

 FCPTA’s unwavering effort to file and litigate as many matters as possible as soon

 as possible. This unfairness can be easily avoided by temporarily staying the

 current matters and enjoining any future matters until the conclusion of the federal

 litigation.




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        Moreover, if Defendant-Appellees prevail in this litigation, and ultimately

 prevail on the State Court Actions, they will benefit from the language of 11

 N.Y.C.R.R. § 65 3.9(a), which mandates the award of interest of two percent (2%)

 every month No-fault payments are overdue. Accordingly, in the extremely

 unlikely event that Defendant-Appellees prevail in this matter (and subsequently in

 the related litigations), they will be well compensated for the delay with a twenty-

 four percent (24%) yearly return on the outstanding principle of their successful

 claims. When weighed against the time and expense that Plaintiff-Appellants

 would need to expend in litigating each of the individual claims, and the

 substantial prejudice to Allstate if it were subject to a state court judgment that was

 later determined to be void by a ruling of the district court, the balance of equities

 tips decidedly and overwhelmingly in favor of Plaintiff-Appellants.

                                   CONCLUSION

        For the foregoing reasons, it is respectfully submitted that: (1) the District

 Court erred in holding that the Anti-Injunction Act precluded it from issuing the

 preliminary relief requested by Plaintiff-Appellants in their Motion for Preliminary

 Injunction; (2) the District Court erred in failing to issue the requested injunction;

 (3) the District Court abused its discretion in failing to identify the Second Circuit

 case upon which it purportedly relied in denying Plaintiff-Appellants’ Motion for a

 Preliminary Injunction; and (4) the District Court erred in failing to reconsider its



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 denial of Plaintiff-Appellants’ Motion for Preliminary Injunction.

        Therefore, Plaintiff-Appellants respectfully pray this Court reverse the

 District Court’s denial of Plaintiff-Appellants’ Motion for Reconsideration, and

 reverse the District Court’s denial of Plaintiff-Appellants’ Motion for Preliminary

 Injunction.



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                       CERTIFICATE OF COMPLIANCE

        This brief complies with the type-volume limitation of Fed. R. App. P.

 32(a)(7)(B) because this brief contains 12,365 words, excluding the parts of the

 brief exempted by Fed. R. App. P. 32(a)(7)(B)(iii). This brief complies with the

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 of Fed. R. App. P. 32(a)(6) because this brief has been prepared in a proportionally

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                                       By:         /s/Daniel Marvin




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                                             U.S. District Court
                                   Eastern District of New York (Brooklyn)
                             CIVIL DOCKET FOR CASE#: 1:15-cv-07149-SJ-CLP


   Allstate Insurance Company et al v. Harvey Family Chiropractic,                        Date Filed: 12/16/2015
   Physical Therapy & Acupuncture, PLLC et al                                             Jury Demand: Plaintiff
   Assigned to: Judge Sterling Johnson, Jr                                                Nature of Suit: 470 Racketeer/Corrupt
   Referred to: Magistrate Judge Cheryl L. Pollak                                         Organization
   Demand: $425,000                                                                       Jurisdiction: Federal Question
   Cause: 18:1962 Racketeering (RICO) Act
   Plaintiff
   Allstate Insurance Company                                       represented by Daniel Scott Marvin
                                                                                   Stem & Montana, LLP
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   Plaintiff
   Allstate Indemnity Company                                        represented by Daniel Scott Marvin
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                                                                                          John Paul Mulvaney
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   v.
   Defendant
   Harvey Family Chiropractic, Physical                             represented by Louis Frank Chisari
   Therapy & Acupuncture, PLLC                                                     Marcote & Associates, P.C.
                                                                                   403 Merrick Avenue
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                                                                                   East Meadow, NY 11554
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                                                                                   Fax: (516)280-2283
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   Defendant
   Richard Harvey, D.C.                                             represented by Louis Frank Chisari
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   Defendant
   Jin Hwangbo, L.Ac                                                represented by Louis Frank Chisari
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   Defendant
   Bervin Nelson Brual, P.T.                                        represented by Louis Frank Chisari
                                                                                   (See above for address)
                                                                                   ATTORNEY TO BE NOTICED


    Date Filed           #    Docket Text
    03/10/2016          21 Letter Requesting Case Information by Allstate Insurance Company (Marvin, Daniel)
                              (Entered: 03/10/2016)
    03/10/2016                Minute Order. for proceedings held before Judge Sterling Johnson, Jr: Case called.
                              Parties present. Motion Hearing held on 3/10/2016 re lQ. MOTION for Temporary
                              Restraining Order MOTION for Preliminary Injunction filed by Allstate Insurance
                              Company. Oral argument heard. The Motion is DENIED for reasons stated on the
                              record. The parties are instructed to proceed before Magistrate Judge Pollak. (Court
                              Reporter Lisa Schmid.) (Rodriguez, Ana) (Entered: 03/10/2016)



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      1   UNITED STATES DISTRICT COURT
          EASTERN DISTRICT OF NEW YORK
      2   --------------------------------------x
          ALLSTATE INSURANCE COMPANY, ET AL,
      3
                                 PLAINTIFFS,
      4
                      versus                            15 CV 07149 (SJ) (CLP)
      5
          HARVEY FAMILY CHIROPRACTIC,
      6   PHYSICAL THERAPY & ACUPUNCTURE,               U. S. Courthouse
          PLLC, ET AL,                                  225 Cadman Plaza Esat
      7                                                 Brooklyn, New York
                                 DEFENDANTS.            March 10th, 2016
      8                                                 11:00 a. m.
          --------------------------------------x
      9
                            CIVIL CAUSE FOR ORAL ARGUMENT
    10                  BEFORE THE HONORABLE STERLING JOHNSON
                             UNITED STATES DISTRICT JUDGE
    11
                                       APPEARANCES
    12
          Attorneys for Plaintiffs:
    13    STERN & MONTANA, LLP
          One World Financial Center
    14    30th Floor
          New York, New York 10281
    15    BY:  SANDRA BURGOS, ESQ.
               ROBERT STERN, ESQ.
    16         DANIEL MARVIN, ESQ.

    17    Attorneys for Defendant:
          MARCOTE & ASSOCIATES
    18    108 New South Road
          Hicksville, New York 11801
    19    BY:  LOUIS CHISARI, ESQ.
               JANNINE GORDINEER, ESQ.
    20

    21    Court Reporter:
          LISA SCHMID, CCR, RMR
    22    Official Court Reporter
          225 Cadman Plaza East
    23    Brooklyn, New York 11201
          Phone:  718-613-2644 Fax:      718-613-2379
    24
          Proceedings recorded by mechanical stenography.         Transcript
    25    produced by computer-aided transcription.


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      1               THE CLERK:    Allstate Insurance Company versus Harvey

      2   Family Chiropractic.

      3               Counsel, note your appearance.

      4              MS. BURGOS:     Good morning, Your Honor.     Sandra

      5   Burgos, along with Robert Stern and Daniel Marvin for the

      6   plaintiffs.

      7               THE COURT:    Step up.

      8              MR. CHISARI:     For the defendants, Marcote and

      9   Associates by Louis Chisari and Jannine Gordineer.          Good

    10    morning, Your Honor.

    11                THE COURT:    Good morning.

    12               MS. GORDINEER:     Good morning, Your Honor.

    13                THE COURT:    This is a TRO?

    14               MS. BURGOS:     It's a Motion for Preliminary

    15    Injunction, Your Honor.      It did contain a request for a TRO,

    16    but Your Honor denied that part of it and set a briefing

    17    schedule followed by argument on the Motion for Preliminary

    18    Injunction.

    19                THE COURT:    Now, this is a Preliminary Injunction to

    20    stay a I guess you would call it a parallel action in state

    21    court?

    22               MS. BURGOS:     Yes, Your Honor.    It's a Preliminary

    23    Injunction to enjoin any proceedings filed by the defendants

    24    for No-Fault collection.      All of these cases are pending in

    25    the civil courts of New York and/or the district courts of


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      1   Nassau County.      So those No-Fault PIP actions are actions

      2   through which the defendants have sued our clients, the

      3   insurers, seeking reimbursement for services that they

      4   purportedly rendered through what we allege is a

      5   fraudulently-organized --

      6                 THE COURT:    I understand that.

      7                 MS. BURGOS:    --   entity.

      8                 THE COURT:    What authority do you say I have to

      9   do   --   to stay that?

    10                  MS. BURGOS:    Well, Your Honor, we believe that Your

    11    Honor is authorized, even under the Anti-Injunction Act, to

    12    grant the relief that we're seeking.          The AIA normally does

    13    not -- the AIA does not prohibit this Court from issuing an

    14    injunction, while the AIA generally prohibits a federal court

    15    from enjoining a state proceeding.

    16                  There are three exceptions.      The first is when --

    17    except as expressly authorized by an Act of Congress.          The

    18    second is where necessary, in aid of its jurisdiction.          The

    19    third is to protect or effectuate its judgments.

    20                  And as we have laid forth in our papers, the

    21    plaintiff's position is the AIA makes an exception, as is true

    22    in this case, where the complaint is premised on substantive

    23    violations of 18 USC 1961, the RICO Act.

    24                  1961 -- Section 1964(a) of the RICO Act expressly

    25    provides that, "District courts of the United States shall


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      1   have jurisdiction to prevent and restrain violations of the

      2   RICO Act by issuing appropriate orders including but not

      3   limited to imposing reasonable restrictions on the future

      4   activities of any person."

      5               Here, an order staying the underlying actions in the

      6   civil courts would directly serve and promote the goal of

      7   Section 1964(a) of restraining violations of the RICO Act,

      8   since each of these underlying actions seem reimbursement for

      9   No-Fault claims which are part and parcel of the pattern of

    10    racketeering activity, in violation of the RICO Act.          The

    11    ultimate goal of the RICO enterprise, as we have alleged in

    12    the complaint, is to collect reimbursement on those fraudulent

    13    No-Fault claims.

    14               And so, we respectfully submit to the Court that

    15    injunctive relief requested in this case is entirely aligned

    16    with the statutory mandate under Section 18 USC 1964(a) to

    17    prevent and restrain RICO violations.        And therefore,

    18    preventing the defendants from using the state courts to

    19    further the affairs of the Harvey FCPTA enterprise does not

    20    run afoul of the AIA.

    21               And Your Honor, we respectfully submit, as cited in

    22    our case, that the provisions of the RICO Act could not be

    23    afforded their intended scope if the courts such as this were

    24    deprived of its right to issue injunctions restraining

    25    violations thereof.


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      1               Judge Kaplan, in a case that we've cited in our

      2   papers, Chevron Corp. v. Donzigar, 974 F. Supp. 2d 362, 569,

      3   in the Southern District of New York, in a decision rendered

      4   in 2014, held that allowing courts to issue injunctions

      5   pursuant to the RICO Act is consistent with Congress's

      6   intent -- and I'll quote        not merely to compensate victims

      7   but to turn them into prosecutors, private attorney generals,

      8   dedicated to eliminating racketeering activity.         And the judge

      9   also found the Supreme Court repeatedly has rejected efforts

    10    to curtail the scope of civil RICO actions where courts ignore

    11    Congress's insistence that the statute be liberally construed

    12    to effectuate its remedial purposes.

    13               Ultimately, Judge Kaplan's decision in that case was

    14    that, "It would be extraordinary indeed if Congress, in

    15    enacting a statute that expressly specified was to be

    16    liberally construed to effectuate its remedial purposes

    17    intended without expressly so stating to deprive the district

    18    courts of utilizing the classic remedial power of injunctions

    19    in private civil actions brought under the Act."

    20                Given the curtailing effect that that

    21    Anti-Injunction Act would have on the RICO Act, the liberal

    22    interpretation which Congress intended that it be afforded,

    23    and since the RICO Act could not be given its intended scope

    24    of preventing and restraining RICO violations unless

    25    injunctions such as the one requested here were permitted, the


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      1   requested relief would not run afoul of the AIA.

      2                Now, Your Honor, I posit an additional argument.

      3   All of these cases, at least the underlying ones that we're

      4   aware of, are in the civil courts.       And respectfully, for the

      5   reasons I've just indicated, I respectfully submit that the

      6   AIA does give the Court the jurisdiction.

      7                I note just for clarification purposes that the

      8   underlying actions are not parallel actions to the extent they

      9   do not seek the same relief.       In the civil court or district

    10    court actions, the defendant, Harvey FCPTA, is suing the

    11    insurer, seeking reimbursement for services.

    12                 In the action before Your Honor, among other things,

    13    the insurer is seeking a declaration that Harvey FCPTA is not

    14    eligible to seek any reimbursement because it is fraudulently

    15    organized.    And so -- and in addition to that, there are

    16    violations of the RICO Act, unjust enrichment and fraud.

    17                 To the extent that in their papers, the defendants

    18    argued that the plaintiffs have not made out or established

    19    their entitlement to the preliminary injunction, I would

    20    respectfully disagree.      I think that the -- as laid out in our

    21    papers, plaintiffs have shown that we are dealing with a

    22    declaratory judgment action, number one.        It is the fourth

    23    claim in the complaint.      By its very nature, it is seeking

    24    equitable relief and as such, there is no adequate remedy at

    25    law.


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      1               I respectfully submit to the Court that if a stay or

      2   a preliminary injunction is not granted, there is a very real

      3   danger that the ultimate relief that plaintiffs are seeking in

      4   this case before the Court, including a declaration that the

      5   defendants are ineligible to receive reimbursement under the

      6   No-Fault law will be defeated by allowing the PIP or the

      7   reimbursement cases to proceed in litigation.

      8              Additionally, it's unfair and inequitable to have to

      9   litigate in the civil and district courts the very claims that

    10    the plaintiffs are seeking to litigate in their declaratory

    11    judgment claim before this court.       The possibility of

    12    inconsistent rulings or judgments in those cases in the

    13    defendant's favor would be inconsistent or has a possibility

    14    of being inconsistent with the ultimate relief that the

    15    plaintiffs are seeking here, which would all be rendered moot.

    16    And in that regard, there is no amount of money, Your Honor,

    17    that can compensate Allstate if the suits were to proceed

    18    without a stay and would interfere with the plaintiff's

    19    declaratory judgment claim.

    20                In addition, there are some practical issues, as

    21    well, Your Honor, and that is, that the plaintiffs will be

    22    required to litigate and arbitrate hundreds of these cases.

    23    Since we were here before the Court on February 26th through

    24    yesterday, there were 82 of these cases in the civil courts

    25    and district courts.     From today through the end of this


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      1   month, there are another 68.      So in this month alone, there

      2   are 150 of these cases that are being funneled through the

      3   civil court and the district court of Nassau County.

      4              And those suits are likely presented to dozens of

      5   different judges.     They have the potential of resulting in

      6   potentially different independent and contradictory

      7   conclusions, and the defendants have argued that, you know,

      8   there is no harm in actually letting those cases go forward,

      9   having decisions in those cases and ultimately seeking to

    10    recoup them as part of the compensatory claims that we have

    11    pending before Your Honor.      And I respectfully submit that

    12    that is not a possibility because the defendants may use any

    13    of the judgments that they receive in their favor to argue

    14    that that money is not recoverable through affirmative

    15    litigation because it's rendered pursuant to a judgment.           They

    16    may argue collateral estoppel.       They may argue res judicata.

    17               And so for those reasons, Your Honor, I respectfully

    18    submit that the plaintiffs have sufficiently established that

    19    in the absence of a preliminary injunction or stay, that they

    20    would be irreparably harmed.

    21                Having done that, we'll move on to the second

    22    element, which contrary to the defendant's position, the

    23    plaintiffs have sufficiently established, as well.

    24               Now, while the defendants argue that we have been

    25    unable or unsuccessful in establishing the likelihood of


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      1   success, that is only one alternative of the second element.

      2   It's clear that the second element is likelihood of success or

      3   sufficiently serious questions going to the merits to make

      4   them a fair ground for litigation.

      5              Now, in the plaintiff's complaint, we have made a

      6   number of allegations that go to the organization and

      7   entitlement and eligibility of the defendant to seek

      8   reimbursement under the No-Fault Law.        Among those, we've

      9   raised serious questions regarding Harvey FCTPA's ownership.

    10    The complaint itself details how the paper owners of Harvey

    11    FCPTA were divested of any and all attributes of ownership and

    12    control.   We have particularized fraudulent statements made by

    13    the defendants within the body of the complaint and in

    14    numerous exhibits and predicate acts, and we've included

    15    excerpts of statements made under oath by Defendants Brual and

    16    Hwangbo, who are the record or paper owners or members of

    17    Harvey FCPTA, where they acknowledge that they are not owners,

    18    that they are employees, that they receive a salary, that they

    19    have no significant role in the ownership operation or control

    20    of that entity.

    21                Having raised that issue in their opposition papers

    22    and even in the answer that they filed last night, to the

    23    extent that they dispute the allegations in the complaint, to

    24    the extent that they offer a conflicting version or stand by

    25    their belief that because they have filed documents with the


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      1   state that on their face represent that they are properly

      2   owned and/or organized, that in and of itself creates a

      3   conflict, which the Court in Dandong versus Pinnacle

      4   Performance, Limited, 2011 Westlaw cite, 615-6743 the Second

      5   Circuit held that, "Conflicting stories between parties can

      6   establish a sufficiently serious question going to the merits

      7   for the purpose of justifying a preliminary injunction."          Now,

      8   I respectfully submit to the Court that in this case, the

      9   plaintiffs have sufficiently done that.

    10                 Moving on to the third and final element, a

    11    balancing of the hardships tip decidedly in the plaintiff's

    12    favor in this matter.     Number one, Allstate will be made to

    13    make repetitious arguments in these matters, which could

    14    ultimately result in unenforceable and likely inconsistent

    15    decisions.

    16                 The results -- and this, I think, is probably one of

    17    the more important ones, the results of these proceedings will

    18    be occurring on an ongoing basis throughout the pendency of

    19    this action, and they'll be undoubtedly brought before the

    20    Court by the prevailing parties in those underlying actions,

    21    and that will do little more than dilute the issues rather

    22    than sharpen them.

    23                 Request to stay and Preliminary Injunction is the

    24    only way to avoid the large volume of litigations and

    25    inconsistent judgments that could culminate in what Judge


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      1   Spatt in Elzanaty indicated would be procedural and

      2   substantive train wreck.

      3               Setting aside that, it is fundamentally unfair to

      4   allow Harvey FCPTA to seek No-Fault payments from Allstate in

      5   other proceedings when the fundamental issue concerning their

      6   eligibility to be paid in the first place is at issue here.

      7   In addition, Your Honor, if Allstate prevails in this case,

      8   then all of the underlying matters will be rendered moot.

      9               If the defendant prevails, however, and they prevail

    10    on the related matters, they will benefit from the No-Fault

    11    regulations which mandate that they will be awarded interest

    12    in the amount of 2 percent every month that payments are

    13    overdue.    So they stand to gain 24 percent of interest per

    14    annum, which is more than any financial institution will grant

    15    them if a stay is ultimately granted in this matter.

    16               And when it's -- when those elements are weighed

    17    against the time and expense that Allstate would need to

    18    expend in litigating the individual claims in the civil and

    19    district courts, I respectfully submit to the Court that the

    20    balance of equity tips decidedly and overwhelmingly in the

    21    plaintiff's favor.

    22                There's one other argument -- two other things I

    23    would like to say, Your Honor.       The first is that this type of

    24    relief has been consistently granted by a number of different

    25    courts.    On a similar matter in April of last year, Allstate


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      1   versus Tvildiani, Your Honor granted a preliminary injunction

      2   and stay of underlying arbitration proceedings.

      3               There was Judge Spatt in the Elzanaty case, Judge

      4   Weinstein in the Excel Radiology case and we've included Judge

      5   Townes in the Allstate versus Damien case -- oh, sorry.

      6   Government Employees Insurance Company versus Damien.          And

      7   there are a number of different state court decisions that

      8   have similarly held that where there is a determination as to

      9   eligibility, that a stay of the PIP matters or the

    10    reimbursement matters is appropriate.

    11                The other argument that the defendants have raised

    12    is that the Federal Arbitration Act prohibits the Court from

    13    granting the relief that plaintiffs are seeking, and I

    14    respectfully submit that that is incorrect.

    15                The first reason is that the matters that are at

    16    issue at least that we're aware of right now are in the civil

    17    and district courts.     There aren't any matters that are in

    18    arbitration, rendering that part of their argument moot.

    19                Secondly, with respect to the FAA, this Court, as

    20    have numerous other courts relying on the decision in In Re:

    21    American Express and the All Writs Act have recognized that

    22    there are circumstances where a Court can enjoin arbitration

    23    proceedings, and I respectfully submit that not unlike the

    24    Tvildiani case, where this Court granted that relief, if there

    25    were arbitrations, this would similarly be an appropriate case


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      1   to grant that relief, given the satisfaction of the elements

      2   that the plaintiffs have set before the Court.

      3              And so, Your Honor, before I conclude,       I

      4   respectfully want to let the Court know that the FAA is

      5   unequivocal and not an impediment to the Court granting the

      6   relief.    The Court is authorized and has jurisdiction to grant

      7   the relief under the exception to the Anti-Injunction Act, and

      8   the plaintiffs have satisfied the three elements to support a

      9   granting of the relief that's being sought.         Thank you.

    10                THE COURT:    Counsel?

    11               MR. CHISARI:     Your Honor, this will come in two

    12    aspects.    I'm going to address the factual basis and Ms.

    13    Gordineer will address the legal arguments.

    14               As far as -- let's first address the district court

    15    matters that are currently pending before the district court

    16    in Nassau County.     First, it's only pending before three

    17    particular judges that have these cases.

    18               What has been left out by plaintiffs is that their

    19    firm represents Allstate on 152 of those.        And of those 152,

    20    they have only raised this civil RICO on about 30 of them.           In

    21    fact,   the rest are failure to provide either an EUO or some

    22    type of verification.

    23               And in fact,    in all of these cases, we, as the

    24    plaintiffs in those actions, have had to move -- now we're

    25    getting ready to move a second time for the failure to provide


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      1   discovery in all of those actions.        So in other words, they're

      2   alleging this RICO, refused to give us any discovery on it.

      3   We made a motion.     The judge decided they were supposed to --

      4   required to give us discovery.       They gave us discovery that

      5   were nonresponsive.     We're required to file a second set of

      6   motions to now strike their answers for failure to provide

      7   discovery.

      8                So Mr. Stern's moving because they're basically, you

      9   know, trying to prevent our client from recovering their

    10    rights -- and again, they're the only firm that's raised this

    11    issue.   Allstate is represented by many.       It's never been

    12    raised before, except in that group of about 30 cases where

    13    it's raised.     It's never been raised anywhere else, and in

    14    fact, Allstate refuses to give us any discovery on that, at

    15    that point.

    16                 With that said, let's talk about Harvey's Family

    17    Chiro, as in the transcripts from all of it, State Farm versus

    18    Malone, which is heavily relied on by the plaintiffs, says

    19    beyond financial,    it's also medical.     And who's controlling

    20    the medical part aspect of the practice?

    21                 And if you read the transcripts -- and they are at

    22    length -- in fact, Dr. Harvey says, yes, I may control the

    23    financial aspect of it, who gets paid, how we do insurance,

    24    but as far as medical goes, I know nothing about the physical

    25    therapy as far as the practicing medicine and how patients are


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      1   treated.     That's to my partner, Brual.     As far as acupuncture,

      2   I don't anything to do with the acupuncture as far as the

      3   treatment of the patients.      That goes to Hwangbo.     He treats

      4   the patients.     And in fact, they testified to that effect,

      5   also.   They also testified that they signed all the documents

      6   necessary to be partners, and they made a contribution to that

      7   partnership.

      8                To draw an analogy to that be a law practice, mine,

      9   in particular.     We're not equal      there are three partners.

    10    We are not equal partners.      But as far as the partnership

    11    goes, I personally deal with all the financial,        insurance and

    12    any matter that comes up in the office.

    13                 My partners, if you brought them in here right now

    14    and asked them, by the way, what bank do you guys use?          They

    15    would say we have no idea.      Our partner, Louis, who they

    16    trust -- and rightly so, I hope -- deals with all that.          We

    17    trust him.     Well, in their argument, that's a

    18    fraudulently-incorporated law office because my partners know

    19    nothing about who provides their health insurance, their

    20    disability insurance and their medical insurance and their

    21    bank.

    22                 That's enough with the organization.      I think Your

    23    Honor has a handle on that and can read in the transcripts.

    24    As far as the legal arguments, I'll turn that over to Ms.

    25    Gordineer.


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      1              MS. GORDINEER:     Plaintiff argues that this Court has

      2   jurisdiction to stay all pending matters in Supreme Court,

      3   arbitrations; however, in plaintiff's moving papers, they

      4   cannot cite to one case that shows that this Court actually

      5   does have the power and authority to stay all pending claims

      6   in the underlying matters.      In fact, they rely on cases that

      7   particularly relate to arbitrations.        In their rely papers,

      8   they actually tried to shame us for distinguishing the cases

      9   based on arbitration, but because that's all that was relied

    10    on in the moving papers, defendants have to reply to that.

    11                Basically, they -- plaintiffs argue irreparable

    12    harm is immediate; however the cases have been going on for

    13    three years.    If there was such immediate harm, why wait

    14    three, four years later to move forward with this so-called

    15    RICO action?    The index numbers are from 2013, and it is now

    16    2016.

    17               Although plaintiff argues that the relief is

    18    equitable and cannot be redressed by monetary damages,

    19    plaintiff simply argues that they're going to be forced to

    20    expend money in litigation.      That is not enough for

    21    irreparable harm to warrant a stay in any of the underlying

    22    cases.

    23                Further, the sole case they rely on is Elzanaty, yet

    24    they ignore that the judge        although in that case, the judge

    25    did grant a temporary stay of arbitration claims, if I may


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      1   quote the Court -- the Court states, "It is no doubt unwise

      2   for a Court to simply step in and stay a

      3   contractually-deserved arbitration"

      4               THE COURT:   What case are you reading from?

      5               MS. GORDINEER:    Allstate Insurance Company versus

      6   Elzanaty,   929 F. Supp. 2d 199, EDNY, 2013.       The Court

      7   specifically states, "It is no doubt unwise for a Court to

      8   simply step in and stay a contractually-deserved arbitration

      9   merely because the Court sees a potentially more efficient use

    10    of time and resources by litigants, arbitrators and judges.

    11    There is undeniable a slippery slope."

    12                Now, to apply a case where the judge in that case is

    13    saying, hey, let's take a step back.        This is a slippery slope

    14    and I'm just deciding this on arbitration.         To apply a case

    15    where it's just pending with arbitration claims to a state

    16    court action is a very detrimental and slippery slope,

    17    especially when plaintiffs cannot cite to a single case that

    18    says this Court has jurisdiction to stay any underlying

    19    matters in state court.

    20                Again, I'm just going to conclude by saying the

    21    plaintiffs have not -- they have failed to establish

    22    irreparable harm, a likelihood of success on the merits, and

    23    that the balance of the equity sits in their favor.

    24                Although plaintiff simply alleges Mallela

    25    violations, there is nothing to suggest --


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      1                THE COURT:    Don't go so fast.      You have a court

      2   reporter.

      3                MS. GORDINEER:       Sorry.   Although plaintiff's

      4   complaint alleges Mallela violations, there is nothing to

      5   suggest that there is not a bonafide medical facility made up

      6   of different partners to manage different areas of medicine.

      7   Plaintiffs    (sic) have filed all required documents with the

      8   state of New York.        They have complied with every single

      9   obligation that they are legally under obligation to do.

    10                 In this case,    it is clear that basically plaintiffs

    11    are trying to throw everything at the wall just to see what

    12    sticks.

    13                 MS. BURGOS:     May I rely briefly?

    14                 THE COURT:    No,    I've heard enough.

    15                 This is the case where I have had some experience in

    16    other matters in which plaintiff has sought to have a

    17    preliminary injunction in a case in which there was a pending

    18    litigation in state court.          I granted that injunction.    It

    19    went up on appeal and I was reversed by the Second Circuit,

    20    saying I could not do that.          So based upon that and my

    21    personal experience,       I'm going to deny the preliminary

    22    injunction.

    23                 I'll let the record reflect that I have issued a

    24    preliminary injunction, but that was for an arbitration, not

    25    for a civil litigation.          That's it.


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      1                What's next on this?

      2                MR. CHISARI:     Your Honor, answer was filed.      I would

      3   imagine we would get then a scheduling order from the

      4   magistrate for discovery.

      5                THE COURT:     Who is the magistrate on this?

      6                MR. CHISARI:     Judge Pollak,    I think.

      7                THE COURT:     You go back to Judge Pollak, and she

      8   will supervise the discovery and give you some dates.

      9                MR. CHISARI:     Thank you, Your Honor.      I would assume

    10    get that order through the ECF or would you like us to go

    11    there now?

    12                 THE COURT:     Ana, put it on ECF, a minute entry.

    13                 THE CLERK:     The order you just issued?

    14                 THE COURT:     Yes.

    15                 THE CLERK:     I will, Judge.

    16                 MR. CHISARI:     So then we would get just get a notice

    17    from judge --

    18                 THE CLERK:     Correct.

    19                 THE COURT:     And you go to Judge Pollak to continue

    20    discovery.

    21                 (Discussion off the record.)

    22                 MS. BURGOS:     Your Honor, before we concluded, would

    23    you by any chance have the cite to the case that you

    24    referenced on the record?

    25                 THE COURT:     I do not recall the case, but I know


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      1   that I was reversed by the Second Circuit.         I guess you could

      2   find it on Lexis or Westlaw.

      3              MS. BURGOS:    Thank you, Your Honor.

      4               THE COURT:   Among the many reverses I've had.

      5               (Proceedings concluded.)

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                              CIVIL DOCKET FOR CASE#: 1:15-cv-07149-SJ-CLP


    Allstate Insurance Company et al v. Harvey Family Chiropractic,                        Date Filed: 12/16/2015
    Physical Therapy & Acupuncture, PLLC et al                                             Jury Demand: Plaintiff
    Assigned to: Judge Sterling Johnson, Jr                                                Nature of Suit: 470 Racketeer/Corrupt
    Refen-ed to: Magistrate Judge Cheryl L. Pollak                                         Organization
    Demand: $425,000                                                                       Jurisdiction: Federal Question
    Cause: 18: 1962 Racketeering (RICO) Act
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6/22/2016                                             Eastern District of New York - LIVE Database V6.1.1

                                                                                          (See above for address)
                                                                                          ATTORNEY TO BE NOTICED

   Defendant
   Jin Hwangbo, L.Ac                                                represented by Louis Frank Chisari
                                                                                   (See above for address)
                                                                                   ATTORNEY TO BE NOTICED

   Defendant
   Bervin Nelson Brual, P.T.                                        represented by Louis Frank Chisari
                                                                                   (See above for address)
                                                                                   ATTORNEY TO BE NOTICED


    Date Filed          # Docket Text
    03/23/2016              ORDER denying 23 Motion for Reconsideration. Plaintiff has not established that the
                            Court overlooked any controlling law or data, or committed clear error, as is required by
                            Local Rule 6.3. Ordered by Judge Sterling Johnson, Jr. on 3/23/2016. (Pownall,
                            Samantha) (Entered: 03/23/2016)



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